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             EXHIBIT 1
  Plaintiffs’ First Amended Complaint &
           Demand for Jury Trial
     Case 2:18-cv-01120-RFB-VCF Document 9-1 Filed 06/29/18 Page   2 of 60
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19
                                           DISTRICT COURT
20
                                     CLARK COUNTY, NEVADA
21
       RACHEL SHEPPARD an Individual,                       CASE NO.: A-18-769752-C
22     LOTUS HERRERA an Individual and as                   DEPT. NO.: XXIV
23     Special Administrator of the Estate ofBRIAN
       FRASER, decedent; STEPHANIE FRASER
       as the Guardian Ad Litem for AUBREE                      FIRST AMENDED COMPLAINT &
24
                                                                  DEMAND FOR JURY TRIAL
       FRASER, a minor; STEPHANIE FRASER as
25     the Guardian Ad Litem for BRAYDEN                        Exemption from Arbitration Requested
       FRASER; JOVANNA CALZADILLAS an                                     Wrongful Death
26
       Individual, FRANCISCO CALZADILLAS
27     an Individual; NICHOLAS ROBONE an
       Individual; ANTHONY ROBONE an
     ~I=n=d~iv~id~u=a~l;~--------------------~_ _
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                              Plaintiffs,
2      vs.
3
       MANDALAY          BAY,     LLC,      f/k/a
4      MANDALAY CORP., a Nevada Domestic
       Limited-Liability Company; MANDALAY
 5     RESORT GROUP, a Nevada Corporation;
       MGM RESORTS FESTIVAL GROUNDS,
6      LLC, a Nevada Domestic Limited-Liability
7      Company; MGM RESORTS             VENUE
       MANAGEMENT, LLC, a Nevada Domestic
 8     Limited-Liability    Company;      MGM
       RESORTS INTERNATIONAL, a Delaware
 9     Corporation; DOES/ROES 1 through 100
10
                              Defendants.
11                                              COMPLAINT
12           COME NOW Plaintiffs Rachel Sheppard, Stephanie Fraser, individually and as the
13    Guardian Ad Litem for Aubree Fraser, a minor, and Brayden Fraser, a minor, Lotus Herrera as

14    Special Administrator of the Estate ofBrian Fraser, deceased, by and through their attorneys, Mark

15    P. Robinson, Jr. , Esq., of the law firm ROBINSON CALCAGNIE, INC. , and James Lee, Esq., of

16    the LEE MURPHY LAW FIRM; Jovanna Calzadillas and Francisco Calzadillas by and through

17    their attorneys, Robert T. Eglet, Esq. and Robert M. Adams, Esq., of the law firm EGLET PRINCE

18    and Patrick McGroder III , of the law firm GALLAGHER & KENNEDY; and Plaintiffs Nicholas
      Robone and Anthony Robone, by and through their attorneys, Kevin R. Boyle, Esq., Rahul
19
      Ravipudi, Esq., Gregorio V. Silva, Esq. and Ellin Mardirosian, Esq., of the law firm PANISH
20
      SHEA & BOYLE LLP (collectively, ·" Plaintiffs") bring this action against Defendants Mandalay
21
      Bay, LLC f/k/a Mandalay Corp., Mandalay Resort Group, MGM Resorts Festival Grounds, LLC,
22
      MGM Resorts Venue Management, LLC, MGM Resorts International, and Does/Roes 1-100
23
      (hereinafter collectively, "MGM"), with personal knowledge as to their own actions, and upon
24
      information and belief as to those of others, and respectfully allege the following:
25
                                            NATURE OF THE ACTION
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             1.      Columbine. Aurora. Sandy Hook. San Bernardino. Sutherland Springs. Pulse.
27
      Mass shootings are now a common occurrence in everyday life. They indiscriminately take place
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                                       FIRST AMENDED COMPLAINT
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 1   at schools, movie theaters, places of worship, work, nightclubs, and concerts. It is not a matter of

 2   "if," but rather "when" the next mass shooting takes place.

 3           2.      This action seeks to redress MGM's inadequate, unreasonable, and egregiously

 4    deficient security, which resulted in an MGM VIP Guest ("Shooter") orchestrating the deadliest

 5    mass shooting in United States history, causing injuries to Plaintiffs attending an MGM promoted

      event held on MGM premises ("Mass Shooting").
 6
             3.      Specifically, MGM's negligence caused:
 7
                      a. Rachel Sheppard to be shot three times by the Shooter-once in the upper
 8
                          chest, once in the torso, and once in the abdomen--causing her to nearly bleed
 9
                          to death and requiring four surgeries;
10
                      b. Brian Fraser to be shot in the chest while trying to escape from the Shooter,
11
                          ultimately causing his death. Brian Fraser is survived by his two children,
12
                          Aubree and Brayden Fraser, and his wife, Stephanie Fraser, who was next to
13
                          her husband, Brian Fraser, during the shooting, causing her to suffer severe
14
                          emotional distress, among other injuries;
15                    c. Jovanna Calzadillas to be shot in the head-as her husband, Francisco
16                        Calzadillas, shielded her from the gunfire--causing paralysis and permanent
17                        brain damage; and
18                    d. Nicholas Robone to be shot in the upper chest causing him to cough blood-

19                        which his brother Anthony Robone witnessed-requiring surgery and weeks

20                        of physical therapy.

21           4.      For three to six days prior to the Mass Shooting, MGM conveyed certain privileges

22    to the Shooter, including use of a service elevator not intended to be accessible to guests or the

23    public, which the Shooter used, with the assistance of MGM employees, to carry approximately
      24 suitcases and/or bags and a large white container carrying at least 23 guns, including 22 assault
24
      rifles, to two adjacent suites on the 32nd floor ofthe Mandalay Bay Resort and Casino Las Vegas
25
      located at 3950 South Las Vegas Boulevard, Las Vegas, NV 891 19 ("Mandalay Bay").
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 1           5.     Despite having repeated interactions with the Shooter, not a single MGM staff

 2   member, manager, or security team member inquired with the Shooter about the nearly 25 bags

 3   and containers he brought with him, even though he apparently remained alone his entire stay.

 4           6.     During those three to six days, while the Shooter prepared for the Mass Shooting,

 5   MGM failed to exercise due care for the safety of its guests, deliberately ignoring countless signs

     of suspicion that, if noticed, would have prevented, or significantly thwarted, the Shooter's efforts.
 6
             7.     In addition to the suspiciously large number of bags the Shooter had, he carried his
 7
     guns through hotel passages openly available to Mandalay Bay patrons, and he specifically
 8
     requested two rooms overlooking the Route 91 Harvest Festival ("Route 91 Festival").              The
 9
     Shooter procured a second room, using his girlfriend's name, despite being alone his entire stay.
10
     He also installed an elaborate surveillance system in the hotel, installing two cameras in the
11
     hallway outside of his suites and one in the peep hole on his door.
12
             8.     The Shooter also used power tools to barricade an entrance in the hallway, and he
13
      refused to allow anyone to service his room without his supervision. He also left a "Do Not
14
      Disturb" sign on his room for more than 36 hours without investigation by any MGM personnel.
15           9.     For up to twenty minutes, the Shooter broke out the windows in his rooms and used
16   an arsenal of weapons to reign gun fire on persons in attendance of the Route 91 Festival, a three-
17   day country music festival promoted by and held on MGM premises, which Plaintiffs attended.
18           10.    During the Mass Shooting, MGM gave no assistance, direction, or information to

19    Plaintiffs, or any of the other 20,000 (approximately) festival goers, about the existence or the

20   location of the Shooter, and how to escape to safety.

21           11.    Instead, the Route 91 Festival attendees were trapped inside the festival venue,

22    preventing Plaintiffs and thousands of others from escaping the gun fire . For instance, many of

23    the festival's exits were either closed, blocked off, or completely barricaded by MGM, and the few

     available exits were not well marked or lit.
24
             12.    Even worse, MGM had immediate, actual knowledge of the location of the Shooter
25
     and that hundreds of rounds were being fired from his suite to the Route 91 Festival. Still, MGM
26
     failed to take any action to stop or deter the Shooter, and failed to accurately provide law
27
     enforcement with the Shooter's location.
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             13.    As a result ofMGM wrongful conduct, acts, and omissions, 58 people in attendance

 2   perished, including Brian Fraser, and thousands more were injured, including Rachel Sheppard,

 3   Stephanie Fraser, Jovanna Calzadillas, Francisco Calzadillas, Nicholas Robone and Anthony

 4   Robone.

 5                                                   PARTIES

            Plaintiff Rachel Sheppard
 6
             14.    Plaintiff Rachel Sheppard is and at all times relevant hereto was a resident of the
 7
     State of California.
 8
             15.    Rachel Sheppard purchased a ticket to the Route 91 Festival, and at all relevant
 9
     times was a paying customer of MGM.
10
             16.    During her stay in Las Vegas for the Route 91 Festival, Rachel Sheppard was a
11
     paying customer of Excalibur Hotel and Casino ("Excalibur"), a hotel owned and operated by
12
     MGM.
13
             17.    As a result ofMGM' s wrongful conduct, acts, and omissions, Rachel Sheppard was
14
     shot three times by the Shooter--once in the upper chest, once in the torso, and once in the
15   abdomen- blasting her to the ground, injuring her back, and severing her aorta. She nearly bled
16   to death three times, requiring 40 units of blood, coded twice, and to date has undergone four
17   surgeries, including one where she was opened from her pubic bone to her throat in order for her
18   chest to be sawed open so that her aorta could be repaired.
19          Plaintiffs Stephanie Fraser, Brian Fraser, Aubree Fraser, and Brayden Fraser

20           18.    Plaintiff Stephanie Fraser brings this case on behalf of her family and individually.

21   Lotus Herrera as Special Administrator of the Estate of Brian Fraser, deceased; Stephanie Fraser,

22   as the Guardian Ad Litem for Aubree Fraser, a minor; and Stephanie Fraser, as the Guardian Ad

23   Litem for Brayden Fraser, a minor, is and at all times relevant hereto was a resident of the State of

     California.
24
             19.    Brian Fraser, decedent, was at all times hereto a resident of the State of California.
25
     Stephanie Fraser, surviving spouse; Aubree Fraser, child; and Brayden Fraser, child, of Brian
26
     Fraser are the only heirs to Brian Fraser as defined in N.R.S. 41.085.
27

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 1           20.     Brian and Stephanie Fraser (" Frasers") purchased tickets to the Route 91 Festival,

 2    and at all relevant times were paying customers of MOM.

 3

 4

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 9
             21.     During their stay in Las Vegas for the Route 91 Festival, the Frasers were paying
10
      customers of Mandalay Bay. The Frasers went to Las Vegas with a large group of family and
11
      friends who spent time together at the Mandalay Bay swimming pool and at the casino floor where
12
      they discussed the Route 91 Festival with MOM's employees. During Brian Fraser' s stay, MOM
13
      provided him with an M-Life players card.
14

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22           22.     As a result ofMOM' s wrongful conduct, acts, and omissions, Brian Fraser was shot

23    in the chest by the Shooter, injuries from which he suffered for an appreciable amount of time but

      which ultimately caused his death.
24
             23.     As a result of MOM' s wrongful conduct, acts, and omissions, Stephanie Fraser
25
      witnessed her husband, Brian Fraser, be shot, fall to the ground, and be given CPR, causing her
26
      severe emotional distress, among other injuries.
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 1          Plaintiff Jovanna Calzadillas, and Francisco Calzadillas

 2          24.     Plaintiff Jovanna Calzadillas is and at all relevant times hereto was a resident of the

 3   State of Arizona.

4           25.     Plaintiff Francisco Calzadillas is and at all relevant times hereto was a resident of

 5   the State of Arizona.

            26.     Jovanna and Francisco Calzadillas ("Calzadillas") purchased tickets to the Route
 6
     91 Festival, and at all relevant times were paying customers of Defendants.
 7
            27.     During their stay in Las Vegas for the Route 91 Festival, the Calzadillas were
 8
     paying customers of the Luxor Hotel and Casino, an MGM property, and were members ofMGM' s
 9
     M-Life rewards program. Francisco Calzadillas recently returned from military deployment and
10
     he was vacationing with his wife in Las Vegas.
11
            28.     As a result of Defendants' wrongful conduct, acts, and omiSSions, Jovanna
12
     Calzadillas was shot in the head by the Shooter, causing paralysis and permanent disability. As a
13
     result of Defendants' wrongful conduct, acts, and omissions, Francisco Calzadillas witnessed his
14
     wife, Jovanna Calzadillas, be shot, and he carried her lifeless body out of the concert venue causing
15   him severe emotional distress.
16          Plaintiff Nicholas Robone and Anthony Robone
17          29.     PlaintiffNicholas Robone is and at all relevant times hereto was a resident of Clark
18   County, Nevada.

19          30.     Plaintiff Anthony Robone is and at all relevant times hereto was a resident of Clark

20   County, Nevada.

21          31.     Nicholas Robone and his brother Anthony Robone purchased or received as gifts

22   tickets to the Route 9 1 Festival, and at all relevant times were paying customers ofMGM.

23          32.     As a result of Defendants' wrongful conduct, acts, and omissions, Nicholas Robone

     suffered a gunshot wound to his upper chest, the bullet just missing his heart, but bruising his lungs,
24
     requiring weeks of physical therapy and medical treatment.
25
            33.     As a result of Defendants' wrongful conduct, acts, and omissions, Anthony Robone
26
     w itnessed his brother, N icholas Robone, be shot, and Anthony Robone carried his brother's
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 1    bleeding body out of the concert venue causing him severe emotional distress, among other

 2    InJunes.


 3           Defendant Mandalay Bay, LLC f/k/a Mandalay Corp.

 4           34.      At all relevant times, Defendant Mandalay Bay, LLC f/k/a Mandalay Corp. was a

 5   Nevada Domestic Limited-Liability Company duly licensed and incorporated under the laws of

     Nevada, with its principal place of business in Clark County, Nevada, and, as a subsidiary of
 6
      Defendant MGM Resorts International, is believed to be the owner, operator, lessor, and/or
 7
      manager of Mandalay Bay. Mandalay Bay, LLC had its own VIP section inside the Las Vegas
 8
      Village.
 9
             Defendant Mandalay Resort Group
10
             35.      At all relevant times, Defendant Mandalay Resort Group was a Nevada Domestic
11
      Corporation duly licensed and incorporated under the laws of Nevada, with its principal place of
12
      business in Clark County, Nevada, and is the managing member of Mandalay Bay, LLC, and, as
13
      a subsidiary of Defendant MGM Resorts International, is believed to be the owner, operator,
14
      lessor, and/or manager of Mandalay Bay. In addition, Mandalay Resort Group owns and/or
15
      operates multiple hotels under its umbrella including, but not limited to:
16                 a . Victoria Partners, dba Monte Carlo Resort and Casino ("Monte Carlo");
17                 b. Circus Circus Casinos, Inc. , dba Circus Circus Hotel and Casino Las Vegas
18                    ("Circus Circus");

19                 c. Ramparts, Inc., dba Luxor Hotel and Casino ("Luxor");

20                 d. New Castle Corp. , dba Excalibur Hotel and Casino ("Excalibur"); and

21                 e. Mandalay Bay LLC dba Mandalay Bay Resort and Casino and the Delano f/k/a

22                    THEHotel ("Mandalay Bay").

23           Defendant MGM Resorts Festival Grounds, LLC
             36.      At all relevant times, Defendant MGM Resorts Festival Grounds, LLC, was a
24
      domestic limited-liability company duly licensed and incorporated under the laws ofNevada, with
25
      its principal place of business in Clark County, Nevada, and is believed to be the owner and/or
26
      operator of the Las Vegas Village, the concert venue where the Route 91 Festival occurred in
27
      September and October 20 17.
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2
 3            Defendant MGM Resorts Venue Management, LLC

4             37.    At all relevant times, Defendant MGM Resorts Venue Management, LLC was a
      domestic limited-liability company duly licensed and incorporated under the laws ofNevada, and
 5
      believed to be the concert and/or event promoter of the Route 91 Festival in September and October
 6
      2017.
 7
              Defendant MGM Resorts International
 8
              38.    At all relevant times, Defendant MGM Resorts International was a corporation duly
 9
      licensed and incorporated under the laws of Delaware, with its principle place of business in Clark
10
      County, Nevada, and is the parent company and alter-ego of Defendant Mandalay Bay, LLC f/k/a
11
      Mandalay Corp., Defendant Mandalay Resort Group, and Defendant MGM Resorts Festival
12
      Grounds, LLC, Defendant MGM Resorts Venue Management, LLC, and is believed to be the
13
      owner, co-owner, operator, lessor, lessee and/or manager ofExcalibur and Mandalay Bay, as well
14
      as Las Vegas Village, an open-air concert and event venue adjacent to the Mandalay Bay consisting
15    of 15 acres of seating area with a capacity of 40,000 guests located at 3901 South Las Vegas
16    Boulevard, Las Vegas, NV 89119 ("Las Vegas Village"). MGM Resorts International had its own
17    VIP section inside the Las Vegas Village. MGM Resorts International is also believed to be the
18    permit holder for the Route 91 Festival, and responsible for the security at the Mandalay Bay and
19    Las Vegas Village.

20            Unknown Defendants

21            39.    The true names and/or capacities, whether individual, corporate, partnership,

22    associate or otherwise, of the Defendants herein designated as Does and/or Roes are unknown to

23    Plaintiffs at this time who, therefore, sues said Defendants by fictitious names. Plaintiffs allege
      that each named Defendant herein designated as Does and/or Roes is negligently, willfully,
24
      contractually, or otherwise legally responsible for the events and happenings herein referred to and
25
      proximately caused damages to Plaintiffs as herein alleged. Plaintiffs will seek leave of Court to
26
      amend this Complaint to insert the true names and capacities of such Defendants when they have
27
      been ascertained and will further seek leave to join said Defendants in these proceedings.
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 1           40.     Plaintiffs are informed and believe and thereon alleges that at all times mentioned

 2    herein, Does and/or Roes were agents, servants, employees, partners, distributors or joint venturers

 3    of each other and that in doing the acts herein alleged, were acting within the course and scope of

 4    said agency, employment, partnership, or joint venture. Each and every Defendant aforesaid was

 5    acting as a principal and was negligent or grossly negligent in the selection, hiring and training of

      each and every other Defendant or ratified the conduct of every other Defendant as an agent,
 6
      servant, employee or joint venture.
 7
             41.     Plaintiffs are informed and believe and thereon allege that Defendants Mandalay
 8
      Bay, LLC f/k/a Mandalay Corp.; Mandalay Resort Group; MGM Resorts Festival Grounds, LLC;
 9
      MGM Resorts Venue Management, LLC; MGM Resorts International; and Does/Roes currently
10
      unknown to Plaintiffs at this time participated in a joint venture when it organized, held, marketed,
11
      secured and/or otherwise hosted the Route 91 Festival. Defendants, as co-venturers to this business
12
      enterprise, relied on each other's unique skill and expertise in order to share in the profits from the
13
      Route 91 Festival. What neither could accomplish on its own, the Defendants could accomplish
14
      together as part of the joint venture.
15                                      JURISDICTION AND VENUE
16            42.    Exercise of the jurisdiction by this Court over each and every Defendant in this
17    action is appropriate because each and every Defendant has done, and continues to do, business
18    in the State ofNevada, and committed a tort in the State ofNevada.

19            43.    Exercise of the jurisdiction by this Court is further appropriate where all incidents

20    described herein occurred in Clark County, Nevada.

21                                       GENERAL ALLEGATIONS

22        A. MGM Failed to Exercise Due Care

23            44.    Plaintiffs reallege and incorporate by reference every allegation contained in this

      Complaint as though fully set forth herein. Based on information and belief, Plaintiffs assert the
24
      additional allegations below.
25
              45.    The Shooter was a VIP guest of Mandalay Bay, and his room charges were
26
      compensated by the hotel. The Shooter was permitted to specifically select his room-choosing
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      rooms with a vantage point from which to carry out the Mass Shooting-and to make changes to

 2    the layout of the rooms to assist with his plan.

 3            46.     Because of his VIP status, MGM gave the Shooter extra leeway and privileges, and

 4    either relaxed or failed to enforce the inadequate security policies and procedures that it has in

 5    place for the safety of its guests.

              4 7.    On Monday, September 25, 2017, six days before the October 1, 2017 Mass
 6
      Shooting, the Shooter checked into corner suite 32-135 on the 32nd Floor of the Mandalay Bay, a
 7
      suite specifically selected by the Shooter with a view overlooking the Route 91 Festival.
 8
              48.     On September 29, 2017, the Shooter, despite apparently being alone his entire stay,
 9
      used his girlfriend's name to check into suite 32-134, which connected with room 32-135 via a
10
      door in between. Both rooms had a scheduled check-out date of October 2, 2017.
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19            49.     MGM, including the Mandalay Bay premises, has a "strict no weapons" policy. In
20    so doing, MGM voluntarily assumed, and continues to assume, a duty to protect its patrons by

21    prohibiting firearms on its premises, recognizing such prohibition as being necessary for their

22    safety. However, MGM failed to enforce this policy against the Shooter, which resulted in the

23    Plaintiffs' damages.

24            50.      After checking m, MGM's employees allowed the Shooter to use a service

25    elevator to transport numerous bags, which contained an arsenal of weapons, explosive material,

      and ammunition, to his room. It is against MGM's policy, which is designed for the safety of its
26
      guests, to allow non-employees to use the service elevators or bring firearms onto hotel premises.
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 1           51.      Specifically, based on Event# 171001-3519 LVMPD Force Investigation Team

2     Report ("Report"), subsequent reports, and upon information and belief, not only was MGM

 3    negligent in prohibiting firearms, ammunition, and explosives to accumulate in rooms 32-1 35 and

4     32-134, but MGM's employees escorted, delivered, carried and/or helped the Shooter carry the

 5    prohibited and dangerous items to the rooms:

                   a. On September 25, 2017, at approximately 4:56pm, the Shooter had valet at
 6
                      Mandalay Bay unload his vehicle and then went to the front desk with
 7
                      approximately five suitcase bags.         A Mandalay Bay bellman met the
 8
                      Shooter who requested to use the service elevators, not the guest elevators,
 9
                      and escorted him to room 32-1 35. The Shooter rolled one bag and the
10
                      bellman used a luggage cart to carry approximately four bags with firearms,
11
                      assault weapons, ammunition, tripods, explosive material, and other
12
                      prohibited items:
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22                 b. On September 26, 2017, at approximately 10:52 pm, the Shooter again

23                    valeted his vehicle at Mandalay Bay and this time had approximately seven
                      additional suitcase bags removed from his vehicle and had six placed on a
24
                      luggage cart and rolled one himself. Again, the Mandalay Bay bellman took
25
                      the seven bags and the Shooter through the service elevator instead of the
26
                      guest elevators to room 32-135:
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10             c. On September 28, 2017, at approximately 9:46pm, the Shooter valeted his

11                vehicle and removed approximately one white container, two rolling

12                suitcases and a laptop bag, taking the service elevator to his room:

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               d. On September 30, 2017, at approximately 5:56am, the Shooter returned to
22                Mandalay Bay and removed approximately four suitcase bags from his
23                vehicle and moved them to his room:
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 8
               e. Also on September 30, 2017, at approximately 2:52pm, valet retrieved the
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                    Shooter's vehicle, which the Shooter inunediately moved to the self-parking
10
                    garage. At approximately 3: 12pm, the Shooter retrieved approximately two
11
                    more bags from his vehicle in self-parking and utilized the guest elevator to
12
                    take the additional two bags to his room:
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23             f.   On October I, 2017, at approximately 12:29 pm, the Shooter transported

24                  approximately two additional rolling suitcases and another bag hanging
                    from one of the rolling suitcases and utilized the guest elevators to take the
25
                    bags and rolling suitcases carrying prohibited items to his rooms:
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 9           52.      MGM's employees also went into the Shooter's rooms multiple times to perform
10    cleaning, housekeeping, and food service delivery or retrieval, where Plaintiffs believe employees
11    either witnessed his cache of weapons, explosive materials, power tools, hammers, tripods,
12    ammunition, and homemade gas masks, and failed to report their observations to law enforcement;

13    or failed to recognize his cache of weapons, explosive materials, power tools, hammers, tripods,

14    ammunition, homemade gas masks, and therefore negligently and carelessly did not report their

15    observations to law enforcement.

16           53.      If the latter, MGM's employees still went into the Shooter's room and saw a single

17    individual with more than 20 bags of luggage in his rooms, who refused to allow anyone in his
      rooms without his supervision, which should have triggered action on their part and on the part of
18
      any reasonable hotel employee/agent.
19
             54.      Based on the above-mentioned Reports, and upon information and belief, MGM's
20
      employees negligently and carelessly failed to discover and/or notify law enforcement of the
21
      Shooter's wrongful, dangerous, suspicious, and potentially harmful conduct on at least the
22
      following dates and times:
23
                   a. On September 27, 2017, sometime after 4 :00 pm, when delivering two
24
                      entrees to the Shooter in room 32-135;
25
                   b. On September 27, 2017, at approximately 4:32pm, when cleaning room 32-
26                    135 with the Shooter remaining in the room;
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                   c. On September 29, 20 17, at approximately 2:00pm, when cleaning room 32-

 2                      135 with the Shooter remaining in the room and instructing the staff not to

 3                      vacuum the floor;

 4                 d. On September 29, 2017, at approximately I1 :00 pm, when delivering food

 5                      to room 32-134 for the Shooter;

                   e. On September 30, 2017, around noon, when servicing the mini bar in room
 6
                        32-134;
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                   f.   On September 30, 2017, shortly after noon, the Shooter placed a "Do Not
 8
                        Disturb" sign on the doors to rooms 32-135 and 32-I34, and declined any
 9
                        further cleaning service; and
IO
                   g. On October I , 2017, at approximately 1:37pm, when delivering another
II
                        meal to room 32-I34, trusted hotel staff employees accessed the room and
I2
                        were in contact with the Shooter, the room, the luggage, the prohibited
13
                        firearms, anununition or other prohibited items, including approximately 21
I4
                        assault rifles, one long rifle, one handgun, 5,000 rounds of anununition,
I5                      explosive materials, power tools, hanuners, tripods, and at least 20 bags
I6                      which carried the prohibited items, including approximately 16 bags which
I7                      were previously transported and delivered by MOM' s employees.
I8           55.        Sometime between September 28, 2017 and October 1, 20 17, the Shooter used
19    power tools to bolt the stairwell door closed, which, remarkably, MOM either ignored given the

20    Shooter's VIP status, or it went undetected until immediately prior to the Mass Shooting because

21    ofMandalay Bay's inadequate security. And, on October I , 2017, between 2:23pm and 7:40pm,

22    the doors of rooms 32-I34 and 32-135 were manipulated multiple times, which MOM detected,

23    but ignored. For example, the doors were opened, closed, and the dead bolt locks were engaged

      and disengaged several times, without any investigation by MGM.
24
             56.        During this period, the Shooter used power tools to install one camera in the
25
      peephole of his suite and at least two more cameras in the hallway, with one of the cameras on a
26
      Mandalay Bay food service cart left by the Shooter in the hallway outside his room. The Shooter
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      used these video cameras to keep a lookout into on the hallway, and to attempt to thwart security

 2    and/or law enforcement:

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             57.     Inexplicably, MGM either intentionally ignored this surveillance system entirely
10
      given the Shooter's VIP status, or it went completely undetected until after the Mass Shooting had
11
      ended because of Mandalay Bay's inadequate security.
12

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20           58.     Given the totality of the circumstances, MGM was either on notice that guests on

21    its premises could be harmed by the Shooter, or, at a minimum, failed to enforce its "strict no

22    weapons" policy and failed to exercise due care for the safety of its patrons or other persons on its

23    premises that would have prevented the Mass Shooting from occurring.

24       B. MGM's Negligence During the Mass Shooting

25           59.     Leading up to the Route 91 Festival event, MGM actively promoted the event,

26    including comping its patrons with free tickets to the festival and having its employees, including

27    dealers at Mandalay Bay, promote the event to the hotel' s patrons.

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 1           60.        On the Route 91 Festival website, Mandalay Bay and MOM's other hotels-with

 2    the majority of properties belonging to Mandalay Resort Group-were promoters of the event,

 3    offering exclusive hotel offers to those in attendance:

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                       MGMGRANO
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12           61.        MGM also used social media to promote the Route 91 Festival, including the twitter

13    accounts of both MGM Resorts International and Mandalay Bay:
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 1           62.     On October 1, 2017, Plaintiffs entered the Route 91 Festival, which took place at

 2    the Las Vegas Village, a recreational facility owned by MGM that is adjacent to and used or

 3    maintained in connection with MGM's Mandalay Bay, Excalibur, Delano, Luxor, and other MGM

 4    hotels. As they entered the Las Vegas Village the Plaintiffs' person and possessions were searched

 5    for weapons.

 6           63.     At approximately 8:40p.m., a HotSOS alarm (triggered when a guest' s room door

 7    is left ajar for a predetermined amount of time) was generated from room 32-129. MGM has a

 8    policy to investigate such alarms in order to ensure the safety of its guests and its guests'

 9    belongings. MGM deliberately waited until 9:11 p.m., over 30 minutes after the alarm was

      generated, to assign Mandalay Bay' s security guard Jesus Campos to investigate room 32-1 29.
10
      Remarkably, Mr. Campos waited until approximately 9:47 p.m., more than one hour after the
11
      HotSOS alarm was first generated, to investigate room 32-129.
12
             64.     Plaintiffs are informed and believe and herein allege that this inexcusable delay was
13
      due to a lack of security staffing, and MGM's inadequate security policy and procedures, which
14
      forced Mr. Campos, the only security guard responsible for the 100-wing section of the Mandalay
15
      Bay at the time, to investigate four other HotSOS alarms first.
16
             65.     While on route to room 32-129 through the 100-wing stairwell, Mr. Campos noticed
17
      the stairwell entrance to the 32nd floor had been barricaded, preventing his access to the 32nd
18
      Floor. At approximately 10:00 p.m., after walking up to the 33rd floor and using a guest elevator
19
      to get to the 32nd Floor, Mr. Campos confirmed room 32-1 29 was secure. He then checked the
20    entrance to the 100-wing stairwell and discovered an "L" bracket screwed into the door and frame,
21    preventing it from being opened.       Inexplicably, Mr. Campos reported this finding to the
22    Maintenance Department instead ofMGM Security.
23           66.     Due to MGM' s lack of staffing and inadequate security policies and procedures,
24    Mr. Campos failed to immediately check the HotSOS alarm for room 32-129, which would have

25    resulted in Mr. Campos investigating the 100-wing stairwell entrance much sooner.

26           67.     At approximately 10:00 p.m., during the performance of Jason Aldean, the Shooter

27    broke out two windows in his Mandalay Bay Hotel rooms, and began firing gunshots at the Route

28    91 Festival on the adjacent MGM owned property. Shortly after the shooting began, Mr. Campos
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      walked down the 100-wing hallway when the Shooter fired shots at Mr. Campos, striking him in

 2    the left calf with a bullet fragment. Despite Mr. Campos telling his dispatcher that shots had been

 3    fired from room 32-135, MGM failed to immediately and correctly report this information to law

 4    enforcement, leading to a delayed and imprecise response by law enforcement, causing and

 5    contributing to the injuries and damages suffered by Plaintiffs.

             68.      At approximately 10:10 p.m., hotel engineer, Stephen Schuck, arrived on the 32nd
 6
      floor to investigate the "L" bracket blocking the stairwell entrance. While on route, Mr. Shuck
 7
      reported to Mandalay Bay personnel that someone was shooting a rifle in the 100-wing hallway
 8
      on the 32nd floor. Still, MGM failed to immediately and correctly report this information to law
 9
      enforcement, leading to a delayed and imprecise response by law enforcement, causing and
10
      contributing to the injuries and damages suffered by Plaintiffs.
11
              69.     For up to 20 minutes, the Shooter used an arsenal of weapons firing hundreds of
12
      rounds at the Route 91 Festival without interruption, killing 58 guests, including Brian Fraser, and
13
      injuring hundreds of others, including Stephanie Fraser, Rachel Sheppard, Jovanna and Francisco
14
      Calzadillas, Nicholas Robone, and Anthony Robone. Despite having direct knowledge of the exact
15    location of the Shooter, at no point did MGM take any action to stop, deter, minimize the harm
16    caused by the Shooter, or otherwise intervene.
17            70.     Despite the fact that Mr. Campos and Mr. Schuck both reported that shots were
18    coming from room 32-135 and the 100-wing hallway of the 32nd floor, MGM failed to properly
19    relay the Shooter's exact location to law enforcement or immediately send its own security to stop

20    the Shooter. The Report indicates law enforcement had "conflicting information on the exact

21    location of the Shooter( s) whether it was on the 31st, 3 2nd, or 3 3 rd floors." Further when strike

22    teams arrived, each group was "given information the Shooter was possibly on the 29th or 31st

23    floor and taken there by elevator." Additional wrong information resulted in law enforcement
      being sent to the Foundation Room on the top floor of the Mandalay Bay. These failures caused
24
      by MGM allowed the Shooter to continue the Mass Shooting uninterrupted, causing and
25
      contributing to Plaintiffs' injuries.
26
              71 .    During Jason Aldean's performance, Rachel Sheppard was shot three times-once
27
      in the upper chest, once in the torso, and once in the abdomen. The shots threw her to the ground,
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 1    where she injured her back and laid down screaming and jolting in pain. One bullet was removed

 2    in surgery during her initial hospitalization. Another bullet was removed during an additional

 3    surgery in December 2017. Rachel continues to have one bullet and numerous fragments in her

 4    body.

 5               72.   During the ensuing chaos, a Good Samaritan picked Rachel up and carried her to

      the medical tent where she waited approximately 45 minutes for medical assistance. This Good
 6
      Samaritan eventually forced himself into an ambulance and held Rachel Sheppard in the
 7
      ambulance applying compresses to her bullet wounds. But for the heroic efforts of the Good
 8
      Samaritan, Rachel Sheppard would probably have died at the scene like so many others. Rachel
 9
      will be impacted and impaired for life as a result of the damages incurred.
10
                 73.   Similarly, the Frasers were in attendance ofthe Route 91 Festival with a large group
11
      of family and friends watching Jason Aldean' s performance. During the performance, they heard
12
      what sounded like packaged firecrackers go off. Although, at first, they did not believe the sounds
13
      were gun shots, upon hearing the noise again, their friend forced them to the ground to protect
14
      them.
15               74.   While on the ground, Stephanie Fraser witnessed Brian Fraser crouch down to the
16    ground and contort into a ball behind her. After the gun shots stopped, Stephanie Fraser began to
17    stand up, and saw her husband and others fall to the ground when a second round of gunshots
18    started.

19               75.   One of the Frasers' friends confirmed Brian Fraser had been shot, and he moved

20    Brian and Stephanie Fraser to the VIP section bleachers, where two other people attempted to give

21    Brian Fraser CPR while Stephanie Fraser watched.          Stephanie Fraser continued to watch her

22    husband receive CPR until Good Samaritans placed Brian Fraser into a wheelbarrow and they were

23    forced to leave the premises. As a result of the chaos surrounding the shooting and the lack of

      clearly defined exits, Stephanie Fraser became separated from her husband, and learned hours later
24
      that he did not survive.
25
                 76.   Likewise, during Jason Aldean's performance, the Calzadillas were near the stage
26
      watching the final performance of the night. They were vacationing in Las Vegas after Francisco
27
      Calzadillas just returned home from deployment in the Middle East.
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 1           77.     As the bullets began showering them from above, Jovanna Calzadillas was quickly

 2    shot in the head. Jovanna Calzadillas, with her palms on the pavement, laid unresponsive as her

 3    husband tried to shield her from the gunfire.

 4           78.     In the wake of the shooting, Francisco Calzadillas carried his wife's lifeless body

 5    out of the concert venue, found a police officer in his vehicle and together drove to a local medical

      facility. Upon her arrival, Jovanna Calzadillas was evaluated in the trauma bay where significant
 6
      brain matter was seen throughout the occipital aspect of her head.
 7
              79.    As a result of her injuries, Jovanna Calzadillas underwent a cranioplasty and
 8
      tracheostomy, and she was eventually placed on a feeding tube. While Jovanna Calzadillas laid
 9
      paralyzed and permanently disabled in the hospital, doctors informed Francisco Calzadillas that
10
      his wife would not survive, and they recommend that she be taken off life support.
11
              80.    Furthermore, Nicholas Robone and his brother Anthony Robone attended the Route
12
      91 Festival in celebration of Nicholas Robone's birthday.          While watching Jason Aldean's
13
      performance together with several friends, Anthony Robone heard what he believed sounded like
14
      fireworks. A short period later, Nicholas Robone had been shot in the upper chest and began
15    spitting up blood, which his brother witnessed. Anthony Robone then carried his brother away
16    from the gunfire to safety and loaded him into an ambulance, which drove N icholas Robone to the
17    hospital while Anthony Robone stayed for approximately one hour to assist other victims.
18            81.    MGM failed to keep the Las Vegas Village venue reasonably safe, which also

19    caused and contributed to Plaintiffs and other festival attendees' injuries. For instance, the festival

20    lacked a sufficient number of available exits for rapid disbursement of a crowd, as MGM had

21    closed, blocked off, locked or completely barricaded many exits. Likewise, the few exits that were

22    available were not sufficiently marked with signs and/or were not well lit.

23            82.    Indeed, Plaintiffs believe that many of the venue exits for the venue were sealed to

      reduce MGM's security costs, and to prevent people from entering the festival without paying,
24
      thereby maximizing MGM's profits. Rather than employing additional security personnel to watch
25
      and maintain the additional emergency exits, Plaintiffs believe MGM cut staffing costs by sealing
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      those exits.
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 1       C. MGM's Inadequate Security Policies and Procedures
 2           83.      While the Mass Shooting itselflasted less than twenty minutes, it should not, could

 3    not, and would not have occurred but for the ongoing negligent acts and omissions of MGM.

 4            84.     MGM employed, and continues to employ, inadequate security policies,

 5    procedures, and safeguards to detect improper and/or prohibited items and conduct, such as those

      used, and actions taken, by the Shooter.
 6
              85.     MGM holds itself out as the leading hospitality and entertainment company in the
 7
      world . While its current portfolio stands at 27 properties, MGM views and promotes itself as "one
 8
      united entertainment and hospitality company."
 9
              86.     MGM Resorts International grew its collection of properties, including some of its
10
      signature brands, in part by way of various mergers and acquisitions. Of consequence to the
11
      allegations made herein, MGM Resorts International announced in June 2004 that it entered into a
12
      definitive merger agreement with Mandalay Resort Group where the former would acquire the
13
      latter for an estimated $7.9 billion. As part of the acquisition, MGM Resorts International obtained
14
      Mandalay Resort Groups' portfolio of properties, including without limitation Mandalay Bay.
15            87.     MGM Resorts International sought, and continues to seek, to maximize its revenues
16    in order to drive profit growth.
17            88.     Upon information and belief, MGM Resorts International achieves this by
18    consolidating certain operations upon the completion of each merger and/or acquisition in order to

19    eliminate redundancies and reduce its operating costs. By way of example, MGM uses a single

20    rewards program for its guests known as "M Life" for all its hotels. Additionally, prospective

21    employees of MGM are required to apply online at a single online portal containing available job

22    postings for all properties.

23            89.     Upon further information and belief, and at all times relevant herein, Mandalay

      Bay' s security operations were also consolidated with MGM Resorts International in order to
24
      eliminate redundancies and reduce operating costs. Additionally, it is further believed that
25
      Mandalay Bay then adopted the security policies, procedures and/or protocols of MGM Resorts
26
      International, which are implemented and/or enforced across MOM's collection of properties. It
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      is also believed that Mandalay Bay and MGM's other hotels use a common security management

 2    and record keeping system.

 3           90.     The majority of MGM' s security        IS   deliberately geared towards surveilling,

 4    monitoring, and/or observing gaming related activities to guard against theft.       This includes,

 5    without limitation, access to the casino cage; the use of multiple security personnel when

      transporting markers, chips, or case; and employing thousands of cameras to surveil table games
 6
      to prevent internal and external theft.
 7
             91.     These security policies, procedures, and safeguards are intended to maximize
 8
      MOM's profits, rather than ensure patrons' safety, by identifying instances of theft, recovering any
 9
      lost monies stolen from the casino, identifying those individuals engaging in such conduct, and
10
      preventing such individuals from returning onto the property in the future.
11
              92.    MGM' s additional security resources are focused on accommodation over security,
12
      where security personnel perform tasks unrelated to security such as carrying luggage, opening
13
      doors, and otherwise providing exceptional customer service. This, again, is intended to maximize
14
      MOM's profits, rather than take reasonable security measures for its patrons' safety.
15            93.    Plaintiffs are informed and believe and herein allege that MOM' s security resources
16    are not dedicated to proactively detecting suspicious activity, firearms, and other prohibited
17    weapons of that nature that could harms its guests, despite MOM's express prohibition of such
18    items. Indeed, MOM deliberately allows its VIP guests, such as the Shooter, to breach its security

19    policies and procedures in order to retain its VIP guests' business.

20            94.    In addition, MGM has not updated its security policies, procedures, or safeguards

21    to reflect and/or be commensurate with the increased volume of visitors coming onto its properties,

22    especially at Mandalay Bay, notwithstanding its active efforts in soliciting such business.

23            95.    Likewise, MOM has not updated its security policies, procedures or safeguards to

      reflect and/or be commensurate with the prevalence of terroristic threats and mass shootings in our
24
      society, which many other Las Vegas hotels have done.
25
              96.    In 2015, the Wynn Las Vegas Casino and Hotel (" Wynn Casino") warned other Las
26
      Vegas hotels, including Mandalay Bay, that Las Vegas was a "target city" and that Las Vegas
27
      hotels needed to dramatically increase their security procedures and protocols in order to
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 1    adequately address future threats including gun violence. The Wynn Casino made such changes

 2    in2015.

 3           97.     Although the Wynn Casino instituted a number of significant security

 4    enhancements, MGM failed to do the same. For example, unlike Mandalay Bay, no Wynn Casino

 5    guest would be permitted to keep a "Do Not Disturb" sign on a room for more than 12 hours

      without investigation from the hotel. The Wynn Casino also required its employees to undergo
 6
      significant training designed to be on the alert for things out of the ordinary akin to a "see
 7
      something - say something" policy. Furthermore, the Wynn Casino has a strict no-gun policy
 8
      which, unlike Mandalay Bay, is enforced through metal detectors designed to prevent people from
 9
      bringing guns into the hotel in addition to dozens of armed plain clothed military trained security
10
      guards. Unlike at the Mandalay Bay, the activity the Shooter engaged in prior to October 1, 2017,
11
      would have raised a number of alarms at the Wynn Casino, and as a result, the shooting likely
12
      never would have occurred. If MGM had these measures in place, the Shooter' s weapons would
13
      likely have been detected and investigated, and the Mass Shooting never would have occurred.
14
             98.     Like the Wynn Casino, many other hotels took action to prevent firearms in its
15    hotels and casino, not by just posting signs and adopting a policy, but by taking action, including
16    but not limited to using trained dogs, installing unseen metal detectors, posting specially trained
17    U.S. Embassy Marines at entrances, having Seal Team Six type former military trained personnel
18    roaming the property to prevent weapons and spot unusual or suspicious activity, participating in

19    intelligence briefings by LVMPD and the counter terrorism fusion center, and instituting 12 hour

20    checks on rooms for guest and property protection purposes when " Do Not Disturb" signs are

21    utilized. On the other end of the spectrum, MGM merely adopted an unenforced policy of no

22    firearms or weapons and then helped the Shooter, on multiple occasions, use the service elevator,

23    in violation of its own policy, to transport all or a vast majority of the assault rifles, ammunition,

      and other prohibited items used to carry out the Mass Shooting that harmed Plaintiffs. If MGM
24
      had taken the security measures that many of the other Las Vegas hotels should have had in place,
25
      the Shooter's weapons would likely have been detected and investigated, and the Mass Shooting
26
      never would have occurred.
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             99.     The Las Vegas Metropolitan Police Department also foresaw something similar to

 2    the Mass Shooting more than six years ago when it implemented MACTAC (Multiple Assault

 3    Counter Terrorism Action Capabilities).      In preparation for its heroic response to this Mass

 4    Shooting, law enforcement trained every officer to identify and neutralize a wide variety of threats,

 5    including a lone wolf Shooter in a shopping mall, a sniper on the Stratosphere, and a coordinated

      attack by a terrorist militia. Reportedly, plans were developed for how to deal with multiple threat
 6
      scenarios at every hotel on the Las Vegas Strip, which included MOM's other properties. For
 7
      instance, sometime after May 20 11 when the Sahara Hotel in Las Vegas closed, the FBI and
 8
      LVMPD used the property for a training exercise to simulate an event almost identical to the Mass
 9
      Shooting. During the training exercise, the FBI and LVMPD placed a mannequin near a window
10
      inside one of the high-rise tower rooms to simulate an attacker.
11
             100.    It was foreseeable to MOM that something catastrophic and/or similar to this event
12
      could occur, especially if one assisted and allowed an individual to accumulate approximately 22
13
      assault rifles, one long rifle, one handgun, 5,000 rounds of ammunition, homemade gasmasks,
14
      sledge hammers, glass cutters, and power tools in its room overlooking a 20,000 person festival.
15           101.    MOM's industry also foresaw something similar to the Mass Shooting
16    approximately 18 months prior to it actually occurring.
17           102.    In January 2016, an unfortunately prophetic article appeared in Casino Journal
18    titled, "The Growing and Changing Role of Casino Surveillance." In it, the author notes, "It's no
19    longer all about card cheats and small-time criminals. It's about ensuring that our employees and

20    guests are not attacked or shot ... Today, security and surveillance teams must be constantly

21    prepared for a critical event or emergency, such as an active Shooter ... This has become a

22    continuing saga, and unfortunately it isn' t going away for a while, if it ever does ... our security

23    and surveillance teams must be prepared to immediately react properly to an active Shooter. It
      is, sadly, an event that we may have to handle one day. Our world has changed, and so has
24
      protecting our casino property." Therefore, it was foreseeable to MOM that something
25
      catastrophic, identical, and/or similar to the Mass Shooting could occur.
26
             103.    MOM knew of industry opinion for potential active or mass shooters in 2013 or
27
      2014 when they began training its "security" personnel on active or mass shooters. Unfortunately,
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 1    that training was inadequate and/or not followed between September 25 and October 1, 2017,

 2    which resulted in the injuries and damages to Plaintiffs.

 3            104.   The events leading up to, in addition to, the Mass Shooting were foreseeable

 4    because MGM knew of this industry opinion and had notice and/or knowledge of prior incidents

 5    and/or similar wrongful acts occurring on Mandalay Bay premises, including assault and non-

      assault weapons found and confiscated on the casino floor and nightclubs.
 6
              105.   The events leading up to, in addition to, the Mass Shooting were foreseeable
 7
      because MGM knew of this industry opinion and had notice and/or knowledge of prior incidents
 8
      and/or similar wrongful acts occurring on Mandalay Bay premises, including assault
 9
      weapons/firearms found and confiscated in hotel rooms.
10
              106.   The events leading up to, in addition to, the Mass Shooting were        fores~eable
11
      because MGM knew of this industry opinion and had notice and/or knowledge of prior incidents
12
      and/or similar wrongful acts occurring on Mandalay Bay premises, including non-assault
13
      weapons/firearms found and confiscated in hotel rooms.
14
              107.   Based on information and belief, MGM had knowledge of one or more active
15    gunman and/or gunfire incidents at Mandalay Bay and/or MGM's other properties prior to the
16    Mass Shooting, showing such incidents were reasonably foreseeable.
17            108.   Based on information and belief, at the time of the Route 91 event, MGM had active
18    shooter and/or terrorist incident insurance in effect showing such incidents were reasonably

19    foreseeable. In essence, the insurance industry recognized the risk of active shooters, performed

20    an actuarial analysis of it, and set a price on the cost of coverage. MGM also recognized the risk,

21    performed a risk benefit analysis on the insurance industry coverage and price, and decided to pay

22    the premium to reduce its risk. Demonstrating that active shooters at MGM properties were not

23    just foreseeable, but actually foreseen.

              109.   The events leading up to, in addition to, the Mass Shooting were foreseeable
24
      because MGM knew of this industry opinion and had notice and/or knowledge of prior incidents
25
      and/or similar wrongful acts occurring on Mandalay Bay premises, including assault and non-
26
      assault weapons found and confiscated in hotel rooms.
27

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 1               110.    MGM knew of this industry opinion and the need to be prepared for an active

 2    shooter. This belief is based on the fact that MGM Defendants and its Executive Director of

 3    Corporate Security, Tom Lozich, were featured in the same Casino Journal publication as the

 4    above referenced article, on pages 21-24. Lozich describes MGM Resorts as being a "miniature

      city, with many complex events and operations being simultaneously managed." The article
 5
      recognizes the Las Vegas Strip in particular as "a target for crime-anything from petty theft to
 6
      more nefarious plots. Lozich describes MOM' s approach to security, "The Corporate Watch
 7
      Center-now operating 24/7-is a functioning in-house fusion center .. . the Watch Center is a
 8
      single-stop station for resort personnel (security and other wise) to report suspicious activity, gain
 9
      insight into trends and connect with corporate resources. Law enforcement also knows that they
10
      can reach out to the Watch Center for information instead of having to chase down appropriate
11
      security contact at each resort ... A dedicated staff of investigators at the Watch Center monitors
12
      the properties and even street views around MGM properties, and they gather suspicious activity
13
      reporting through the robust " See Something, Say Something initiative in Las Vegas ... Our ' See
14
      Something, Say Something" messaging is still non-stop for our employees. At the line level, those
15    are the employees who can make or break anything that happens." Finally, Lozich recognizes,
16    " We're a global company, and we have to be mindful of the security risks in the world that could
17    impact not only our ability to function but (our ability) to protect our guests."
18               111.    It was not just foreseeable to MGM that something catastrophic and/or similar to
19    this nefarious plot could occur, it was actually foreseen by Las Vegas Metro Police, the Las Vegas

20    Casino industry, the insurance industry, and MGM. Unfortunately, MGMs' centralized corporate

21    policy delayed immediate Shooter information being transmitted to law enforcement, which

22    caused and/or contributed to Plaintiffs' injuries and damages.

23               112.     The online resource Insurance Journal and the Federal Emergency Management

      Agency ("FEMA") define an "active shooter incident" as "one or more individuals actively
24
      engaged in killing or attempting to kill people in a populated area." 1 The Federal Bureau of
25

26
27    1
          Amy O'Connor, As Active Shooter Incidents Increase, lndust1y Addresses Coverage 'Gray Area', INSURANCE
      JOURNAL   (Aug. II , 2016), https://www.insurancejoumal.com/newslnational/20 16/08/ll/422884.htm (last visited
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      Investigation ("FBI") conducted a study of Active Shooter Incidents focusing on the years 2000

 2    through 2013 and found that the " largest percentage of active shooter incidents- 45.6 percent-

 3    took place in a business." 2 The FBI concluded that due to the growing number of active shooting

 4    incidents, there must be strong prevention efforts" by these businesses. 3 The FBI then followed

 5    this report with a 2016 "analysis of 2014 and 20 15 active shooter incidents" which found that the

      number of incidents was increasing each year, totaling 20 incidents per year in 2014 and 2015.4
 6
              113 .    Many insurance companies now offer active shooter insurance programs to respond
 7
      to these emerging risks. 5 Some of the insurance policies available have "onsite active shooter and
 8
      security vulnerability assessment, as well as preparedness seminars and training modules" for
 9
      businesses. 6
10
               114.    The Department of Homeland Security ("DHS") and FEMA have been providing
11
      courses to assist "managers and employees" of businesses to address and prevent active shooter
12
      situations for several years now. 7
13
              115.     Less than one year before the Mass Shooting, the FBI and DHS published a Joint
14
      Special Event Threat Assessment report warning of the potential threat of lone offenders targeting
15    mass gatherings, like music venues in Las Vegas. The report states that lone offenders "are of
16    particular concern due to their ability to remain undetected until operational; their willingness to
17    attack civilians and soft targets; their ability to inflict significant casualties with weapons that do
18    not require specialized knowledge, access, or training; and their unpredictability .... "

19

20

21

22    March 23, 20 18); see also FEMA, /S-907: Active Shooter; What You Can Do, available at
      https://training.fema.gov/is/courseoverview.aspx?code=IS-907 (last visited March 23, 20 18).
      2
23      FBI, FBI Releases Study on Active Shooter Incidents (September 24, 20 14), https://www. fbi.gov/news/stories/fbi-
      releases-study-on-active-shooter-incidents (last visited March 23, 20 18).
      3 /d.
24    4
        FBI, Active Shooter Incidents in the United States in 2014 and 201 5, https://www.fbi.gov/fi le-
25    repository/activeshooterincidentsus_20 14-20 15.pdf/view (last visited March 23, 20 18); see also As Active Shooter
      Incidents Increase, Industry Addresses Coverage 'Gray Area', supra note I.
      5
        As Active Shooter Incidents Increase, Industry Addresses Coverage 'Gray Area', supra note I.
26    6 /d.
      7
        DHS, Active Shooter Presentation, https://www.dhs.gov/active-shooter-preparedness (last visited March 23, 20 18);
27    DHS, Human Resources or Security Professional, https://www.dhs.gov/human-resources-or-security-professional
      (last visited March 23, 20 18); IS-907: Active Shooter; What You Can Do, supra note I.
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                116.    Dating back to at least 2005, the Nevada Homeland Security Commission has

 2    warned Las Vegas hotels and casino security staff that they should keep an eye out for a potential

 3    attack.

 4              117.    Given the numerous incidents involving active shooters in the country, the risk of

 5    being hurt or killed in an "Active Shooter" situation/incident became the focus of the National

      Safety Council during National Safety Month in June of 2017. 8 The National Safety Council
 6
      reiterated the DHS ' s urging that businesses, including their managers and employees, be alert and
 7
      aware of warning signs to prevent an active shooter situation as well as how to act during an active
 8
      shooter situation because these incidents are often over within minutes, and sometimes before law
 9
      enforcement even arrives on scene. 9
10
                118.    The DHS and the FBI believe that individuals and establishments such as hotels,
11
      hospitals, and schools need to be prepared for an active shooter situation. 10
12
                119.    The Centers for Disease Control ("CDC") and the National Institute for
13
      Occupational Safety and Health ("NIOSH") also urged employers to prepare for active shooters.
14
      NIOSH's "Vision" is "Safer, Healthier Workers" and its "Mission" is " [t]o develop new
15    knowledge in the field of occupational safety and health and to transfer that knowledge into
16    practice." 11 Specifically, during "safety month" (June 20 17), NIOSH put together a plan for each
17    week of the month to "Help Put an End to Preventable Deaths" with the third week entirely
18    dedicated to dealing with active shooters which it believes "is something every organization needs

19    to address." 12 One suggestion made is for businesses to have "active shooter drills" to protect

20    people. 13

21

22

23
      8
        NCS, Know how to respond to an active shooter (June 27, 20 17),
24
      http://www. safetyandheal thmagazine.com/articles/ 15872-know-how-to-respond-to-an-active-shooter (last visited
      March 23, 20 18).
25    9 /d.
      10
         Active Shooter Incidents in the United States in 2014 and20 15, supra note 4; see also As Active Shooter Incidents
26    Increase, Industry Addresses Coverage 'Gray Area', supra note 1.
      11
         CDC, About NIOSH, https:l/www.cdc.gov/niosh/about/default.html (last visited March 23, 20 18).
27    12
         CDC, Help Put an End to Preventable Deaths During National Safety Month 2017 (June 1, 2017),
      https://blogs.cdc.gov/niosh-science-blog/20 17/06/0 1/national-safety-month-20 17/ (last visited March 23, 20 18).
28    13 /d.
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 1            I20.    Despite so many organizations, such as the National Safety Council, CDC, DHS,

 2    FBI, and other agencies joining together to work towards preventing serious injuries and deaths

 3    caused by active shooters, as well as providing training to businesses to assist them in dealing with

 4    their response to active shooters, MGM failed to have adequate and effective plans, policies, and

 5    procedures in place to deal with an active shooter.

             121.     Upon information and belief, in the timeframe immediately leading up to Mass
 6
      Shooting, MGM significantly reduced its workforce, including, but not limited to, security
 7
      personnel.
 8
              I22.    Because ofMGM ' s inadequate security measures:
 9
                   a. A single guest can check into multiple rooms, including under another person's
10
                      name, without that named person ever appearing at the hotel;
II
                   b. A single guest can carry seven large, heavy bags and suitcases containing assault
12
                      rifles and ammunition at a time, and request to avoid the public elevators without
I3
                      MGM's concern;
I4
                   c. Over the course of several days, a single guest can carry approximately 25 bags and
15
                      suitcases into his room containing an arsenal of weapons, with MGM' s help and
16
                      without MGM' s concern; and
I7
                   d. Prior to the shooting and up to the present, anyone (patrons or non-patrons), with or
18
                      without the consent or escort of MGM, can use service elevators for whatever
19
                      purpose they choose, including to move oversized or numerous pieces of luggage,
20
                      necessarily removing patrons from the normal security protocols in place at the hotel
2I
                      and against MGM' s security policy.
22
              123.    MGM's security measures are woefully deficient in dealing with the large number
23
      of guests visiting the property. As a result, this enabled, and continues to enable, individuals to
24
      bring prohibited items onto the property such as explosives, ammunition, and/or firearms.
25
      Additionally, this enabled, and continues to enable, individuals to engage in prohibited activities
26
      and use dangerous items while on MGM's premises.
27

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 1            124.     MOM' s systemic security failures enabled and contributed to the Shooter bringing

 2    and using dangerous, prohibited items while on the premises.

 3            125 .    But for these inadequate and defective security policies, procedures, and safeguards

 4    employed by MOM, among other negligent conduct, the Mass Shooting would not and could not

 5    have occurred.

              126.     But for MOM' s reduction in security personnel, among other negligent conduct, the
 6
      Mass Shooting would not and could not have occurred.
 7
              127.     But for MOM's failure to intervene, among other negligent conduct, Plaintiffs
 8
      would not have been injured or killed.
 9
              128.     But for MOM' s failure to take basic minimum precautions that are reasonably
10
      expected from a hotel owner, among other negligent conduct, Plaintiffs would not have been
11
      injured or killed.
12
              129.     But for MOM deliberately focusing on identifying instances of theft, recovering
13
      lost monies stolen from the casino, watching money during scheduled pit drops and slot drops, and
14
      other acts that may affect its profits, Plaintiffs would not have been injured or killed.
15            130.     But for MOM's failure to exercise due care, among other negligent conduct,
16    Plaintiffs would not have been injured or killed.
17        D. MGM's Joint Venture Prioritized Profit Over Security
18            131.     MOM Resorts International holds itself out as the leading hospitality and
19    entertainment company in the world.
20            132.     Upon information and belief, MOM sought, and continues to seek, to diversify its
21    non-gaming revenues by obtaining a larger share of the entertainment segment in order to drive
22    profit growth.
23            133 .    As gaming revenues stagnate, decline and/or underperform, MOM has an interest,
24    and continues to have interest, in the live entertainment market segment, particularly outdoor music
25    festivals.
26

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             134.    Following the success of other competing music festivals held in Las Vegas, MGM

 2    converted a warehoused property originally envisioned for a resort hotel into real estate that could

 3    be used to generate revenue at a fraction of that cost.

 4           135.    Upon information and belief, MGM Resorts Festival Grounds owned, operated

 5    and/or maintained the Las Vegas Village that hosted the Route 91 Festival, at the direction of

 6    Defendant MGM Resorts' International.

 7           136.    Upon information and belief, and on or around that same timeframe, Defendants

 8    entered and participated in a joint venture when it promoted, organized, marketed, hosted, secured,

 9    and/or otherwise held the Route 91 Festival, which Rachel Sheppard, Stephanie Fraser, Brian

10    Fraser, Jovanna Calzadillas, Francisco Calzadillas, Nicholas Robone, and Anthony Robone

11    attended. Specifically:

12               a. MGM individually, and as co-venturers, entered into a contractual relationship with

13                   one another- in the nature of an informal partnership- for purposes of organizing,

14                   hosting, marketing, securing, and/or otherwise holding the Route 91 Festival;

15               b. MGM individually, and as co-venturers, conducted a business enterprise by

16                   promoting, organizing, marketing, hosting, securing, and/or otherwise holding the

17                   Route 91 Festival; and

18               c. MGM, each of them, and as co-venturers, agreed to share jointly, or in proportion

19                   to capital contributed, in profits and losses from the Route 91 Festival.

20            137.   Upon information and belief, and as part of the joint venture, MOM Resorts Festival

21    Grounds provided the land for MGM to hold the Route 91 Festival and/or MGM Resorts Venue

22    Management served as the event promotor ofthe Route 91 Festival.

23            138.   As part of the joint venture, MOM's properties served as the official hotels for

24    concert attendees also advertising marketing, and/or promoting the Route 91 Festival in and outside

25    of their respective premises. This included giving free tickets to its hotel patrons and/or guests,

26    providing exclusive hotel discounts only available to concert attendees, and providing

27    transportation to and from the hotel/concert venue.

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               139.     MGM was acutely aware that music festivals historically lose money in their

2     inaugural years of operation. "You've got to have a lot of stomach to put these big festivals on

 3    knowing that you will lose money in the first two to three years," stated Chris Baldizan, MGM

4     Resorts International Senior Vice President. 14 "We invested some money into the site- it was

 5    essentially a run-down parking lot. We put some power in the venue, we paved it and cleaned it

 6    up. But there' s nothing really permanent on the site," according to Mr. Baldizan. 15

7              140.    It is believed that MGM invested, and continues to invest, minimal amounts for the

 8    venue, instead putting the majority of financial resources into attracting high caliber talent to

 9    perform at the event at the expense of patron security. Such minimal investment includes, but is

10    not limited to, the following:

11                 a. Temporary chain link fencing around the perimeter of the venue;

12                 b. Insufficient number of entrances for ingress/egress;

13                 c. The absence of permanent signage denoting specific areas of ingress and egress (i.e.

14                     emergency exits); and/or

15                 d. An accessible communication system for public use when ordinary communications

16                     are unavailable (i.e. emergency sirens).

17             141.     As a result of MGM' s conscious decision to invest more on talent and less on the

18    venue itself, the Las Vegas Village ultimately was, and continues to be, an inherently unsafe venue

19    susceptible to any type of mass casualty event whether a natural disaster, fire and/or act of

20    terrorism.

21             142.     MOM's inadequate security at the venue caused and/or contributed to the endless

22    injuries and deaths that occurred on 1 October, including Plaintiffs.

23

24

25

26
      14
         https://lasvegassun.com/blogs/kats-report/20 16/apr/0 I/festival-grounds-has-a-cause-it-needs-more-parties/ (Last
27    visited on January 5, 20 18).
      15
         http://ampthemag.com/the-real/qa-chris-baldizan-mgm-resorts-international/ (Last visited on January 5, 20 18).
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             143.       Upon information and belief, and at all times relevant herein, Defendants were

2     responsible for hiring, managing, training, and/or supervising event staff working at the Las Vegas

3     Village.

4            144.       Pursuant to local codes and/or ordinances, Defendants were required to obtain an

5     outdoor festival permit in order to hold the Festival. As permit holders, Defendants were required

6     to meet certain conditions prior to holding such an event, which included submitting a detailed

7     security plan.

 8           145.       That Defendants, each of them, collaborated, discussed, organized, drafted and/or

9     otherwise prepared a security plan for the Festival.

10           146.       A detailed security plan necessarily includes an emergency evacuation plan as well

11    as policies and procedures in handling a mass casualty event, if and when it occurs.

12           147.       MGM failed to reasonably hire staff with the requisite experience and/or to properly

13    train them in executing an emergency evacuation plan and responding to a mass casualty event.

14    Such failures include, but are not limited to, the following:

15                  a. Not communicating, instructing, directing, assisting and/or guiding concert

16                      attendees to designated exits during an emergency; and/or

17                  b. Not executing an emergency evacuation plan to allow concert attendees to evacuate

18                      the premises.

19            148.      As a result, this curtailed, stopped and/or prevented concert attendees, including

20    Plaintiffs, from reasonably exiting and/or escaping from the venue: (1) once the shooting began;

21    (2) at each interval when the shooter paused to reload or switch weapons; (3) and/or at the end of

22    the massacre. Instead, Plaintiffs, each of them, were forced to seek shelter from a barrage of bullets

23    while essentially imprisoned within a chain-link cage.
24               149.   MGM, each of them, and as co-venturers, are jointly and severally liable to
25    Plaintiffs for the wrongful acts and conduct committed in furtherance of the joint venture.
26               150.   That MGM' s negligent acts, omissions, and conduct in organizing, hosting,

27    marketing, securing, and/or otherwise holding the Route 91 Festival is imputed to each and every

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      co-venturer of the joint enterprise rendering those participating in the joint venture liable for

2     Plaintiffs ' injuries.

 3            151.     But for MGM' s failures, the events of 1 October would not, should not, and could

4     not have occurred.

 5                                             CLAIMS FOR RELIEF

 6                                          FIRST CLAIM FOR RELIEF

 7                                                    Negligence
              152.     Plaintiffs reallege and incorporate by reference every allegation contained in this
 8
      Complaint as though fully set forth herein.
 9
               153.    At all relevant times, MGM had a duty of reasonable care in the protection and
10
      safeguarding of persons on the Mandalay Bay, MGM premises and Las Vegas Village, including
11
      persons in attendance at the Route 91 Festival venue, and the properties and areas leading to and
12
      from the festival.
13
               154.    At all relevant times, MGM had a duty of reasonable care to prevent firearms and/or
14
      weapons from being allowed on the Mandalay Bay premises, including, but not limited to, rooms
15
      32-135 and 32-134.
16
               155 .   At all relevant times, MGM knew or should have known that it was reasonably
17    foreseeable that a breach of its duties to keep its premises reasonably safe and free from firearms
18    and weapons would result in injury or death to its guests.
19             156.    This is especially true where MGM allowed a single guest to carry approximately
20    25 bags and suitcases containing approximately 22 assault rifles, one long rifle, one handgun, 5,000

21    rounds of ammunition, tripods, homemade gas masks, power tools, glass cutters, and sledge

22    hammers into one or two rooms of its Mandalay Bay hotel, which overlooked a concert with at

23    least 20,000 attendees that MGM promoted to its guests.

24             157.    MGM breached its duty ofreasonable care by failing to maintain the Mandalay Bay

25    premises in a reasonably safe condition, including, but not limited to, the following:

                       a.      failing to properly surveil people coming and going from the hotel;
26
                       b.      failing to monitor the hotel premises with a closed-circuit television;
27

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                  c.   failing to discover some or all of the Shooter's arsenal of weapons,

 2                     ammunition, explosive material or other prohibited items between

 3                     September 25, 20 17 and October I, 20 17;

 4                d.   assisting the Shooter with transporting all or part of his arsenal of

 5                     weapons, ammunition, explosive material and other prohibited items

                       between September 25, 2017 and October 1, 2017, through the
 6
                       nonpublic service elevator;
 7
                  e.   assisting the Shooter on September 29, 20 17, with checking into a
 8
                       second suite in his girlfriend ' s name, despite the Shooter staying alone;
 9
                  f.   failing to conduct any investigation into a single individual that carried
10
                       approximately 25 bags and suitcases into two rooms, which oversaw the
11
                       Route 91 Festival grounds owned by MGM (in which he stayed in
12
                       alone);
13
                  g.   failing to timely respond to, or otherwise act upon, the Shooter's
14
                       internal shooting at Mandalay Bay, including, but not limited to, the
15                     shooting of Mandalay Bay security guard Jesus Campos (who waited
16                     nearly one hour before going to the 32nd floor after receiving an alert
17                     coming from another guests' room);
18                h.   failing to notice or take precautions against the Shooter's delivery of

19                     guns, ammunition, explosive material, and other prohibited items to his

20                     hotel room;

21                1.   failing to notice or take action against the Shooter' s installation and

22                     setup of surveillance cameras outside his hotel rooms;

23               J.    failing to adequately prevent, respond or timely discover the Shooter's

                       breaking out and opening of the Mandalay Bay hotel room windows;
24
                  k.   failing to adequately train and supervise employees on the reporting and
25
                       discovery of suspicious individuals, persons, and/or activities;
26
                  l.   failing to adequately train and supervise employees as recommended by
27
                       the National Safety Council, CDC, DHS, and FBI;
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                  m.   failing to investigate the Shooter's room after a "Do Not Disturb" sign

 2                     remained on the Shooter's door for more than 12 hours;

 3                n.   failing to investigate the Shooter's room after a "Do Not Disturb" sign

4                      remained on the Shooter's door for more than 36 hours;

 5                o.   failing to timely discover the stairwell door bolted closed;

                  p.   fai ling to discover and/or investigate the use of power tools by the
 6
                       Shooter, which modified the Hotel Premises;
 7
                  q.   failure of MGM personnel to discover and report the arsenal of
 8
                       weapons, ammunition, explosive material and other prohibited items in
 9
                       the Shooter's rooms;
10
                  r.   failing to report the arsenal of weapons, an1munition, explosive material
11
                       and other prohibited items discovered by MGM personnel servicing the
12
                       room and its hotel gusts;
13
                  s.   failing to respond to reports of the arsenal of weapon, ammunition,
14
                       explosive material, and other prohibited items discovered by MGM
15                     personnel servicing the room and its hotel guests;
16                t.   failure of room service/in room dining personnel to discover and report
17                     the arsenal of weapon, ammunition, explosive material, and other
18                     prohibited items in the Shooter's suite;

19                u.   failing to report the arsenal of weapons, ammunition, explosive

20                     material, and other prohibited items discovered by MGM personnel

21                     servicing the room and its hotel guests;

22                v.   failing to respond to reports of the arsenal of weapon, ammunition,

23                     explosive material, and other prohibited items discovered by MGM

                       personnel servicing the room and its hotel guests;
24
                  w. failing to discover or investigate explosive material in the Shooter's
25
                       vehicle;
26
                  x.   failing to employ adequate safety measures;
27
                  y.   fai ling to exercise due care;
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                      z.    failing to take minimal safety precautions to ensure the safety of guests

 2                          on its premises;

 3                    aa. delaying the notification of law enforcement of the Shooter's activity

 4                          and/or location;

 5                    bb. failing to adequately and promptly notify law enforcement of the

                            Shooter and/or his activities;
 6
                      cc. failing to have a plan for an active Shooter;
 7
                      dd. failing to properly respond to an active Shooter situation;
 8
                      ee. fai ling to properly train and supervise employees, contractors, vendors,
 9
                            guests of the plan of action in case of an active Shooter situation;
10
                      ff.   failing to properly respond to an emergency situation;
11
                      gg. failing to properly implement and execute active Shooter plan.
12
              158.    MGM further breached its duty of reasonable care by failing to maintain the Las
13
      Vegas Village in a reasonably safe condition, including, but not limited to, for having as follows:
14
                  a. Temporary chain link fencing around the perimeter ofthe venue;
15
                  b. Insufficient number of entrances for ingress/egress;
16
                  c. The absence of permanent signage denoting specific areas of ingress and egress (i.e.
17
                      emergency exits); and/or
18
                  d. An accessible communication system for public use when ordinary communications
19
                      are unavailable (i.e. emergency sirens).
20
              159.    MGM failed to reasonably hire staff with the requisite experience and/or to properly
21
      train them in executing an emergency evacuation plan and responding to a mass casualty event,
22
      including, but are not limi ted to:
23
                  a. Communicating, instructing, directing, assisting and/or guiding concert attendees to
24
                      designated exits during an emergency; and/or
25
                  b. Executing an emergency evacuation plan to allow concert attendees to evacuate the
26
                      premises.
27

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              160.    MGM is further liable for the negligence of its employees pursuant to the doctrine

 2    of respondeat superior, and the negligence of its agents under the doctrine of vicarious liability.

 3            161.    Based on the totality of the circumstances surrounding the Shooter's September 25,

 4    2017 to October 1, 2017 stay at Mandalay Bay, MGM knew, or should have known, that it was

 5    foreseeable that the Shooter could cause harm to someone on and/or adjacent to its premises.

              162.    That MGM acted recklessly, maliciously, and/or oppressively with intent to allow
 6
      injury to Plaintiffs.
 7
              163.    That MGM' s failures amount to a conscious disregard for the safety of Plaintiffs,
 8
      and others so as to constitute malice and oppression, and Plaintiffs are entitled to exemplary or
 9
      punitive damages in an amount in excess of Fifteen Thousand Dollars ($15 ,000.00).
10
              164.    As a direct and proximate result of MGM's wrongful conduct, Plaintiffs, each of
11
      them, suffered severe injury to their body and mind, past and future medical expenses, past and
12
      future pain and suffering, past and future severe emotional distress, disfigurement, loss of
13
      enjoyment of life, loss of past and future earning capacity and anticipated future loss of income,
14
      all to their damage in an amount in excess of Fifteen Thousand Dollars ($15,000.00).
15            165.    As a direct and proximate result of MGM's wrongful conduct, and the resulting
16    death of Brian Fraser, Lotus Herrera as Special Administrator of the Estate of Brian Fraser, has
17    incurred emergency, medical, funeral and burial expenses in an amount not yet ascertained, and
18    when said amount is ascertained, Stephanie Fraser will seek leave of Court to amend this

19    Complaint to allege said amount.

20            166.    The Estate of Brian Fraser is also entitled to general damages and exemplary or

21    punitive damages that decedent Brian Fraser would have recovered had he survived.

22            167.    Due to MGM's wrongful conduct as alleged herein, Rachel Sheppard has been

23    required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur

      attorney's fees and costs thereby.
24
              168.    Due to MGM' s wrongful conduct, as alleged herein, the Fraser Plaintiffs have been
25
      required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur
26
      attorney's fees and costs thereby.
27

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              169.     Due to MOM's wrongful conduct as alleged herein, Lotus Herrera as Special

 2    Administrator of the Estate of Brian Fraser, has been required to retain the services of Robinson

 3    Calcagnie and the Lee Murphy Law Firm and to incur attorney' s fees and costs thereby.

 4            170.     Due to MOM's wrongful conduct as alleged herein, the Calzadillas Plaintiffs have

 5    been required to retain the services of Eglet Prince and Gallagher & Kennedy and to incur

      attorney' s fees and costs thereby.
 6
              171.     Due to MOM's negligence as alleged herein, Nicholas and Anthony Robone have
 7
      been required to retain the services ofPanish Shea and Boyle LLP and to incur attorney's fees and
 8
      costs thereby.
 9
                                       SECOND CLAIM FOR RELIEF
10
                         Negligence Against Defendant MGM Resorts International
11
              172.     Plaintiffs reallege and incorporate by reference every allegation contained in this
12
      Complaint as though fully set forth herein.
13
              173.     At all times herein mentioned, Defendant MGM Resorts International, undertook,
14
      gratuitously and for consideration, to render services to Mandalay Bay and to Plaintiffs and
15    Plaintiffs' Decedents, which Defendant MGM Resorts International should have recognized, and
16    did recognize, as necessary for the protection of third persons, including Plaintiffs and Plaintiffs'
17    Decedents.     Specifically, Defendant    MGM      Resorts International undertook to provide
18    comprehensive and centralized security procedures, protocols, communications and affirmative

19    protective actions in response to security and safety threats to guests, patrons, and members of the

20    public at the various resorts, hotels and associated properties.

21            174.     In doing so, the Defendant MGM Resorts International knew that its failure to

22    exercise reasonable care in the performance and rendering of this undertaking would increase the

23    risk of harm to third persons, including Plaintiffs and Plaintiffs' Decedents, and that they would

      be subjected to physical harm thereby. Defendant MGM Resorts International also knew that it
24
      was undertaking performance of duties of care owed by Mandalay Bay to Plaintiffs and Plaintiffs'
25
      Decedents, and that Plaintiffs and Plaintiffs' Decedents upon the undertaking.
26
              175.     Defendant MGM Resorts International was negligent and failed to exercise
27
      reasonable care in the performance and rendering of this undertaking by, among other things, and
28
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 1    not by way of limitation, removing security authority from Mandalay Bay and centralizing such

 2    security authority to a "single stop station" "Corporate Watch Center" off premises, thereby

 3    diminishing localized control and the ability of Mandalay Bay to immediately and promptly

 4    communicate with law enforcement, resulting in critical delays in communication to law

 5    enforcement personnel, and delaying the time for them to respond and arrive at the scene of the

      shooting.
 6
             176.    As a direct and proximate result ofMGM Resorts International's breach of its duty
 7
      of reasonable care, and failure to exercise reasonable care in the performance of said undertaking,
 8
      Plaintiffs and Plaintiffs' Decedents suffered the injuries and damages as herein alleged.
 9
                                       THIRD CLAIM FOR RELIEF
10
                                             Loss of Consortium
11
             177.    Plaintiffs reallege and incorporate by reference every allegation contained in this
12
      Complaint as though fully set forth herein.
13
             178.    Stephanie Fraser and decedent Brian Fraser were, at all times relevant to this action,
14
      husband and wife, having entered into a legally valid marriage.
15           179.    That Plaintiff, Stephanie Fraser, as the lawful wife of Plaintiff, Brian Fraser, was,
16    and is, entitled to the society, comfort, affection, services, companionship and consortium of her
17    husband.
18           180.    That as a direct and proximate result, of the negligence of the Defendants, and each

19    of them, Plaintiff Brian Fraser, was killed, thereby denying Plaintiff, Stephanie Fraser, the society,

20    comfort, affection, services, companionship and consortium of her husband, all to her general

21    damages in an amount in excess of Fifteen Thousand Dollars ($ 15,000.00).

22            181.   Due to MOM' s wrongful conduct as alleged herein, Stephanie Fraser has been

23    required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur

      attorney's fees and costs thereby.
24
              182.   Jovanna Calzadillas and Francisco Calzadillas were, at all times relevant to this
25
      action, husband and wife, having entered into a legally valid man·iage.
26
27
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              183 .   That Plaintiff, Francisco Calzadillas, as the lawful husband of Plaintiff, Jovanna

 2    Calzadillas, was, and is, entitled to the society, comfort, affection, services, companionship and

 3    consortium of his wife.

 4           184.     That as a direct and proximate result, of the negligence of the Defendants, and each

 5    of them, Plaintiff Jovanna Calzadillas, was injured, thereby denying Plaintiff, Francisco

      Calzadillas, the society, comfort, affection, services, companionship and consortium of her
 6
      husband, all to his general damages in an amount in excess of Fifteen Thousand Dollars
 7
      ($15,000.00).
 8
              I85.    Due to MOM' s wrongful conduct as alleged herein, Francisco Calzadillas has been
 9
      required to retain the services of Eglet Prince and Gallagher & Kennedy and to incur attorney ' s
10
      fees and costs thereby.
II
                                      FOURTH CLAIM FOR RELIEF
12
                                                Wrongful Death
13
             186.     Plaintiffs reallege and incorporate by reference every allegation contained in this
14
      Complaint as though fully set forth herein.
15           187.     Pursuant to Nevada Revised Statute ("NRS") 41.085(2), " [w]hen the death of any
16    person ... is caused by the wrongful act or neglect of another, the heirs of the decedent and the
17    personal representatives of the decedent may each maintain an action for damages against the
18    person who caused the death .. . ."

19           188.     That as a direct and proximate result of the negligence of Defendants, and each of

20    them, Brian Fraser, the decedent, suffered fatal injuries and Plaintiffs have sustained damages in

2I    excess of Fifteen Thousand Dollars ($15 ,000.00).

22           189.     That as a further direct and proximate result of Defendants' negligence, acts and

23    omissions, from the time of the Decedent's injuries until his death, Decedent suffered intense

      physical and metal pain disfigurement, shock and agony, all to his damage recoverable by Plaintiffs,
24
      in an amount to be determined at trial.
25
             190.     That Defendants, each of them, acted recklessly, maliciously, and/or oppressively
26
      with intent to allow injury to the Decedent. That Defendants' failures amount to a conscious
27
      disregard for the safety of Decedent and others, so as to constitute malice and oppression. For the
28
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 1    reasons set forth above, Plaintiffs are entitled to exemplary damages in an amount to be determined

 2    at trial.

 3                191.   Stephanie Fraser as the surviving spouse of decedent Brian Fraser; Lotus Herrera

 4    as the Special Administrator for the Estate of Brian Fraser; Stephanie Fraser as Guardian Ad Litem

 5    for Aubree Fraser, a minor child of decedent Brian Fraser; and Stephanie Fraser as Guardian Ad

      Litem for Brayden Fraser, a minor child of decedent Brian Fraser, are heirs to decedent Brian Fraser
 6
      and are entitled to maintain an action for damages against Defendants for wrongful death, including,
 7
      but not limited to, damages set forth in N.R.S. 41.085 in an amount in excess of Fifteen Thousand
 8
      Dollars ($15,000.00).
 9
                  192.   As a result of the injuries to and resulting death of Brian Fraser, Stephanie Fraser,
10
      Aubree Fraser, and Brayden Fraser are entitled to pecuniary damages for their grief or sorrow, loss
11
      of probable support, companionship, society, comfort and consortium, and damages for pain,
12
      suffering or disfigurement of the decedent.
13
                  193.   As a result of the injuries to and death of Brian Fraser, Lotus Herrera as Special
14
      Admini strator to the Estate of Brian Fraser may recover any special damages, such as medical
15    expenses, which the decedent Brian Fraser incurred or sustained before his death, and funeral
16    expenses; and any penalties including, but not limited to, exemplary or punitive damages, that
17    decedent Brian Fraser would have recovered if he had survived.
18                194.   Due to MGM' s negligence and wrongful conduct, Plaintiffs have been required to

19    retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur attorney ' s

20    fees and costs thereby.

21                                         FIFTH CLAIM FOR RELIEF

22                                                Premises Liability
                  195.   Plaintiffs reallege and incorporate by reference every allegation contained in this
23
      Complaint as though fully set forth herein.
24
                  196.   At all times mentioned, MGM was the owner, manager, supervisor, maintainer,
25
      operator, and/or controller of the premises and common area known as Las Vegas Village located
26
      at 3901 South Las Vegas Boulevard, Las Vegas, NV 89 11 9.
27

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 1            197.     At all times mentioned herein, MOM was the owner, manager, supervrsor,

 2    maintainer, operator, and/or controller ofthe premises and common area known as Mandalay Bay

 3    located at 3950 South Las Vegas Boulevard, Las Vegas, NV 89119.

 4            198.     At all times mentioned herein, Mandalay Bay was located adjacent to and connected

 5    with other MOM hotels, including, but not limited to, Excalibur, Delano, and Luxor.

              199.     At all times mentioned herein, and upon information and belief, Mandalay Bay
 6
      shares a common secmity management and record keeping systems with other MOM hotels,
 7
      including, but not limited to, Excalibm, Delano, and Luxor.
 8
              200.     At all times mentioned herein, the Las Vegas Village was a part ofthe premises of
 9
      Mandalay Bay and MOM's other hotels, as defined in N.R.S. 651.005, because it is a "recreational
10
      facility or other land, used or maintained in connection with the [Mandalay Bay] hotel" and MOM's
11
      other hotels.
12
              201.     At all times mentioned herein, MOM owed a duty of care to concert-goers and hotel
13
      guests like Plaintiffs.
14
              202.     At all times mentioned herein, MOM failed to exercise due care for the safety of
15    Plaintiffs.
16            203 .    At all times mentioned herein, MOM negligently failed to reasonably secure,

17    inspect, maintain, and/or supervise said premises, failed to keep said premises reasonably safe, and

18    further failed to protect Plaintiffs from dangers and/or hazards, which resulted in Plaintiffs' injuries.

19            204.     As a direct and proximate cause of MOM' s failmes, omissions, and wrongful

20    conduct, Plaintiffs sustained numerous injuries, as alleged herein.

21            205.     MOM negligently, willfully, and/or recklessly failed              to perform certain

22    responsibilities and duties owed to Plaintiffs, inter alia:
                    a. By failing to exercise due care for the safety of its patrons, ignoring countless
23
                       signs of suspicion that, if noticed, would have prevented, or significantly
24
                       thwarted, the Shooter' s efforts;
25
                    b. By failing to have adequately trained or competent personnel on duty,
26
                        including secmity guards and/or hotel personnel, at the time of the attack to
27
                        respond adequately to the shooting;
28
                                                           -45-

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                 c. By failing to install and/or properly use monitoring equipment or audio

 2                    equipment on the premises to discover, or even investigate, the Shooter;

 3               d. By focusing its security efforts on instances of theft against the casino, and

 4                    not on the safety of its patrons;

 5               e. By failing to establish and enforce such other measures necessary and

                      reasonable to protect Plaintiffs from physical attack and death, thereby
 6
                      failing to provide a reasonably safe venue; and
 7
                 f.   By failing to enforce its own policies and procedures.
 8
             206.     MGM breached its duty to Plaintiffs to maintain a reasonably safe environment, and
 9
      acted negligently by failing to provide adequate security for the premises.
10
             207.     MGM knew or should have known that the lack of staffing and inadequate security
11
      policies and procedures made it susceptible to cause the injuries to Plaintiffs, and should have
12
      warned Plaintiffs of such risks.
13
             208.     Prior to the events of the Mass Shooting, the inherently unsafe condition of the
14
      premises was known by, or should have been known by, MGM, in the exercise of reasonable care.
15           209.     MGM knew or should have known that the failure to develop, monitor, operate
16    and/or control the premises in a reasonable safe manner made it susceptible to a mass casualty event
17    that could lead to injury and/or death of those at its premises including, but not limited to, those in

18    attendance of the Route 91 Festival.

19           210.     The injuries to Plaintiffs were proximately caused by MGM ' s failure to properly

20    staff and maintain adequate security policies and procedures for its premises, among other things.

21           2 11.    As a direct and proximate result of MGM's wrongful conduct, Plaintiffs, each of

22    them, suffered severe injury to their body and mind, past and future medical expenses, past and

23    future pain and suffering, past and future severe emotional distress, disfigurement, loss of

      enjoyment of life, loss of past and future earning capacity and anticipated future loss of income,
24
      all to their damage in an amount in excess of Fifteen Thousand Dollars ($ 15,000.00).
25
             212.     As a direct and proximate result of MGM' s wrongful conduct, and the resulting
26
      death of Brian Fraser, Lotus Herrera as Special Administrator of the Estate of Brian Fraser, has
27
      incurred emergency, medical, funeral and burial expenses in an amount not yet ascertained, and
28
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 1    when said amount is ascertained, Stephanie Fraser will seek leave of Court to amend this

 2    Complaint to allege said amount. Lotus Herrera as Special Administrator of the Estate of Brian

 3    Fraser is also entitled to general damages and exemplary or punitive damages that decedent Brian

 4    Fraser would have recovered had he survived.

 5           213.    Due to MGM's negligent and wrongful conduct, Rachel Sheppard has been

      required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur
 6
      attorney's fees and costs thereby.
 7
             214.    Due to MGM's negligent and wrongful conduct, the Fraser Plaintiffs have been
 8
      required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur
 9
      attorney's fees and costs thereby.
10
             215.    Due to MGM's negligent and wrongful conduct, Lotus Herrera as Special
11
      Administrator of the Estate of Brian Fraser, has been required to retain the services of Robinson
12
      Calcagnie and the Lee Murphy Law Firm and to incur attorney's fees and costs thereby.
13
             216.    Due to MGM's negligent and wrongful conduct, the Calzadillas Plaintiffs have
14
      been required to retain the services of Eglet Prince and Gallagher & Kennedy and to incur
15    attorney's fees and costs thereby.
16           217.    Due to MGM' s negligent and wrongful conduct, N icholas Robone has been
17    required to retain the services ofPanish Shea and Boyle LLP and to incur attorney's fees and costs
18    thereby.

19                                      SIXTH CLAIM FOR RELIEF

20                                Negligent Infliction of Emotional Distress

21           218.    Plaintiffs reallege and incorporate by reference every allegation contained in this

22    Complaint as though fully set forth herein.

23           219.    MGM owed a duty to exercise due care not to subject Plaintiffs to foreseeable risk

      of mental, emotional and/or physical injury, and MGM knew or reasonably should have known that
24
      such acts and/or omissions of MGM as herein alleged, were likely to result in mental, emotional
25
      and/or physical injury to Plaintiffs.
26

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             220.     MGM while engaging in the aforementioned conduct did negligently inflict extreme

 2    mental and emotional distress, indignity, embarrassment, and humiliation upon Plaintiffs, and did

 3    breach that duty to Plaintiffs.

 4           221.     Rachel Sheppard suffered and continues to suffer serious emotional distress and

 5    physical injuries due to the negligence ofMGM.

             222.     Stephanie Fraser suffered and continues to suffer senous emotional distress
 6
      resulting in physical symptoms caused by both her physical and emotional injuries as well as those
 7
      resulting from her witnessing the shooting and eventual death of her decedent husband Brian Fraser.
 8
             223.     Francisco Calzadillas suffered and continues to suffer serious emotional distress
 9
      resulting in physical symptoms caused by the Mass Shooting and witnessing his spouse get shot in
10
      the head, due to the negligence of MGM.
11
             224.     Anthony Robone suffered and continues to suffer sen ous emotional distress
12
      resulting in physical symptoms caused by the Mass Shooting, due to the negligence of MGM.
13
             225.     Plaintiffs have suffered and continue to suffer serious emotional distress causing
14
      physical injury and illness as a result of the negligence and wrongful conduct of MGM, all to their
15    damage in an amount in excess of Fifteen Thousand Dollars ($ 15,000.00).
16           226.     Due to MOM ' s negligent and wrongful conduct, Rachel Sheppard has been
17    required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur
18    attorney' s fees and costs thereby.

19            227.    Due to MGM ' s negligent and wrongful conduct, the Fraser Plaintiffs have been

20    required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur

21    attorney's fees and costs thereby.

22            228.    Due to MOM ' s negligent and wrongful conduct, Lotus Herrera as Special

23    Administrator of the Estate of Brian Fraser, has been required to retain the services of Robinson

      Calcagnie and the Lee Murphy Law Firm and to incur attorney ' s fees and costs thereby.
24
              229.    Due to MGM's negligent and wrongful conduct, the Calzadillas Plaintiffs have
25
      been required to retain the services of Eglet Prince and Gallagher & Kennedy and to incur
26
      attorney' s fees and costs thereby.
27

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 1            230.    Due to MGM' s negligent and wrongful conduct, Nicholas and Anthony Robone

 2    have been required to retain the services of Panish Shea and Boyle LLP and to incur attorney's

 3    fees and costs thereby.

 4                                    SEVENTH CLAIM FOR RELIEF

 5                                              Negligence Per Se
              23 1.   Plaintiffs reallege and incorporate by reference every allegation contained in this
 6
      Complaint as though fully set forth herein.
 7
              232.    At all times mentioned herein, there were in force statutes, ordinances, and
 8
      regulations prohibiting the conduct exhibited by MGM, including without limitation Chapter 6.67
 9
      et seq. of the Clark County Code of Ordinances.
10
              233.    T he acts of MGM, as alleged herein, violated the statutes, ordinances, and
11
      regulations which constitutes negligence per se.
12
              234.    Plaintiffs were all members of the class of persons for whose protection said statutes,
13
      ordinances, and regulations were enacted or promulgated.
14
              235.    Plaintiffs sustained injuries that were the type said statutes, ordinances, and
15    regulations were intended to prevent.
16            236.    MGM is liable for the damages sustained by Plaintiffs.
17            23 7.   As a direct and proximate result of all the foregoing and as a result of the acts and/or
18    omissions of MGM, Plaintiffs have sustained physical, mental, and emotional harm.

19            238.    The wrongful conduct, acts, or omissions were conducted in a wanton, willful,

20    malicious manner, w ith conscious disregard for Plaintiffs' rights.

21            239.    The acts of MGM should be assessed punitive or exemplary damages.

22            240.    As a direct and proximate result of all the foregoing and as a result of the acts and/or

23    omissions of MGM, Plaintiffs have sustained and will continue to sustain the above-mentioned

      111JUnes.
24
              24 1.   As a direct and proximate result of MGM's wrongful conduct, Plaintiffs, each of
25
      them, suffered severe injury to their body and mind, past and future medical expenses, past and
26
      future pain and suffering, past and future severe emotional distress, disfigurement, loss of
27
28
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 1    enjoyment of life, loss of past and future earning capacity and anticipated future loss of income,

 2    all to their damage in an amount in excess of Fifteen Thousand Dollars ($15,000.00).

 3           242.    As a direct and proximate result of MGM 's wrongful conduct, and the resulting

 4    death of Brian Fraser, Lotus Herrera as Special Administrator of the Estate of Brian Fraser, has

 5    incurred emergency, medical, funeral and burial expenses in an amount not yet ascertained, and

      when said amount is ascertained, Stephanie Fraser will seek leave of Court to amend this
 6
      Complaint to allege said amount.      Lotus Herrera as Special Administrator of the Estate of Brian
 7
      Fraser is also entitled to general damages and exemplary or punitive damages that decedent Brian
 8
      Fraser would have recovered had he survived.
 9
             243.    Due to MGM's wrongful conduct, acts and omissions, Rachel Sheppard has been
10
      required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur
11
      attorney' s fees and costs thereby.
12
             244.    Due to MGM's wrongful conduct, acts and omissions, the Fraser Plaintiffs have
13
      been required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to
14
      incur attorney's fees and costs thereby.
15           245.    Due to MGM's wrongful conduct, acts and omissions, Lotus Herrera as Special
16    Administrator of the Estate of Brian Fraser, has been required to retain the services of Robinson
17    Calcagnie and the Lee Murphy Law Firm and to incur attorney 's fees and costs thereby.
18           246.    Due to MGM's wrongful conduct, acts and omissions, the Calzadillas Plaintiffs

19    have been required to retain the services of Eglet Prince and Gallagher & Kennedy and to incur

20    attorney's fees and costs thereby.

21            247.   Due to MGM's wrongful conduct, acts and omissions, Nicholas and Anthony

22    Robone have been required to retain the services of Panish Shea and Boyle LLP and to incur

23    attorney's fees and costs thereby .

24
                                       EIGHTH CLAIM FOR RELIEF
                                                    Nuisance
25
              248.    Plaintiffs reallege and incorporate by reference every allegation contained in this
26
      Complaint as though fully set forth herein.
27

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 1            249.    Plaintiffs were ticket holders with the right to occupy, attend, and/or otherwise be

2     present at the venue for the Route 91 Festival, including grounds and adjacent property controlled

 3    and owned by MOM.

4             250.    MOM, by way of its acts and omissions, created and/or permitted an ongoing

 5    condition, namely MOM' s failure in operating a high traffic resort hotel without adequate security

      measures in place to detect, identify, and/or otherwise prevent patrons with dangerous weapons
 6
      from coming onto its premises.
 7
              251.    The existence of that ongoing condition was harmful to Plaintiffs' health, safety and
 8
      welfare so as to substantially interfere with Plaintiffs' comfortable enjoyment of life.
 9
              252.    This condition substantially interfered with Plaintiffs' use of the hotel and concert
10
      venue, including enjoyment of the Route 91 Festival and Plaintiffs did not consent to MOM's
11
      conduct.
12
              253.    An ordinary person would be disturbed by MOM' s conduct.
13
              254.    MOM's failure in operating its business without adequate security measures in place
14
      was a substantial factor in causing Plaintiffs' harm.
15            255.    The seriousness of the harm outweighed the public benefit of MOM' s conduct,
16    namely that MOM must enact, develop and/or implement reasonable security measures so patrons
17    in close proximity to such business operations will not be unreasonably harmed as a result.
18            256.    As a direct and proximate result of all the foregoing and as a result of the acts and/or

19    omissions of MOM, Plaintiffs have sustained damages in an amount in excess of Fifteen Thousand

20    Dollars ($15,000.00), both individually and collectively.

21            257.    That at all times mentioned herein, MOM acted with fraud, oppression, and/or

22    malice toward Plaintiffs, exhibited a recklessness to injure Plaintiffs and/or a conscious disregard

23    for the rights and safety of Plaintiffs, and MOM should be punished and made an example of by

      imposition of punitive or exemplary damages in an amount in excess of Fifteen Thousand Dollars
24
      ($15,000.00).
25
              258.    As a direct and proximate result of all the foregoing and as a result of the acts and/or
26
      omissions of MOM, Plaintiffs have sustained and will continue to sustain the above-mentioned
27
      lllJUnes.
28
                                                        -51 -

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              259.    As a direct and proximate result of MOM' s wrongful conduct, Plaintiffs, each of

 2    them, suffered severe injury to their body and mind, past and future medical expenses, past and

 3    future pain and suffering, past and future severe emotional distress, disfigurement, loss of

 4    enjoyment of life, loss of past and future earning capacity and anticipated future loss of income,

 5    all to their damage in an amount in excess of Fifteen Thousand Dollars ($15,000.00).

              260.    As a direct and proximate result of MOM's wrongful conduct, and the resulting
 6
      death of Brian Fraser, Lotus Herrera as Special Administrator of the Estate of Brian Fraser, has
 7
      incurred emergency, medical, funeral and burial expenses in an amount not yet ascertained, and
 8
      when said amount is ascertained, Stephanie Fraser will seek leave of Court to amend this
 9
      Complaint to allege said amount.       Lotus Herrera as Special Administrator of the Estate of Brian
10
      Fraser is also entitled to general damages and exemplary or punitive damages that decedent Brian
11
      Fraser would have recovered had he survived.
12
              261.    Due to MOM's wrongful conduct, acts and omissions, Rachel Sheppard has been
13
      required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur
14
      attorney ' s fees and costs thereby.
15            262.    Due to MOM's wrongful conduct, acts and omissions, the Fraser Plaintiffs have
16    been required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to
17    incur attorney's fees and costs thereby.
18            263.    Due to MOM' s wrongful conduct, acts and omissions, Lotus Herrera as Special

19    Administrator of the Estate of Brian Fraser, has been required to retain the services of Robinson

20    Calcagnie and the Lee Murphy Law Firm and to incur attorney's fees and costs thereby.

21            264.    Due to MOM's wrongful conduct, acts and omissions, the Calzadillas Plaintiffs

22    have been required to retain the services of Eglet Prince and Gallagher & Kennedy and to incur

23    attorney's fees and costs thereby.
              265.    Due to MOM' s wrongful conduct, acts and omissions, Nicholas and Anthony
24
      Robone have been required to retain the services of Panish Shea and Boyle LLP and to incur
25
      attorney's fees and costs thereby.
26
                                         NINTH CLAIM FOR RELIEF
27
                                 Negligent Hiring, Retention, and Supervision
28
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 1              266.    Plaintiffs reallege and incorporate by reference every allegation contained in this

2     Complaint as though fully set forth herein.

 3              267.    MOM owed a duty of care to hotel guests and concert-goers like Plaintiffs.

4               268.    MOM was negligent in the selection, hiring, training, supervision and/or retention

 5    of its employees, agents, servants, partners, associates, and/or associations, at all times relevant

      herein.
 6
                269.    MOM by and through its employees, agents, servants, partners, associates, and/or
 7
      associations, breached its duty of care by failing to put into place safety protocols when it knew or
 8
      should have known that its employees and/or agents and/or servants might cause a high risk to
 9
      innocent parties such as Plaintiffs.
10
                270.    MOM is vicariously liable for damages resulting from its employees', agents',
11
      servants', partners' , associates' and/or associations' negligent actions against Plaintiffs during the
12
      scope of employment.
13
                27 1.   As a direct and proximate result of MOM's negligent hiring, retention, and
14
      supervision, Plaintiffs sustained general and special damages in excess of Fifteen Thousand Dollars
15    ($ 15,000.00).
16              272.    MOM acted recklessly, maliciously, and/or oppressively with intent to allow injury

17    to Plaintiffs. MOM' s fai lures amount to a conscious disregard for the safety of Plaintiffs, and others

18    so as to constitute malice and oppression. For the reasons set forth above, Plaintiffs are entitled to

19    exemplary damages in an amount to be determined at trial.

20              273.    As a direct and proximate result of all the foregoi ng and as a result of the acts and/or

21    omissions of MOM, Plaintiffs have sustained and will continue to sustain the above-mentioned

22    injuries and damages.

23              274.    As a direct and proximate result of MOM's negligent conduct, Plaintiffs, each of

      them, suffered severe injury to their body and mind, past and future medical expenses, past and
24
      future pain and suffering, past and future severe emotional distress, disfigurement, loss of
25
      enjoyment of life, loss of past and future earning capacity and anticipated future loss of income,
26
      all to their damage in an amount in excess of Fifteen Thousand Dollars ($15,000.00).
27

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                                                          - 53-

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 1           275.      As a direct and proximate result of MGM's wrongful conduct, and the resulting

 2    death of Brian Fraser, Lotus Herrera as Special Administrator of the Estate of Brian Fraser, has

 3    incurred emergency, medical, funeral and burial expenses in an amount not yet ascertained, and

4     when said amount is ascertained, Stephanie Fraser will seek leave of Court to amend this

 5    Complaint to allege said amount.      Lotus Herrera as Special Administrator of the Estate of Brian

      Fraser is also entitled to general damages and exemplary or punitive damages that decedent Brian
 6
      Fraser would have recovered had he survived.
 7
             276.      Due to MGM's negligent conduct, Rachel Sheppard has been required to retain the
 8
      services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur attorney's fees and
 9
      costs thereby.
10
             277.      Due to MGM's negligent conduct, the Fraser Plaintiffs have been required to retain
11
      the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur attorney's fees and
12
      costs thereby.
13
             278.      Due to MGM's negligent conduct, Lotus Herrera as Special Administrator of the
14    Estate of Brian Fraser, has been required to retain the services of Robinson Calcagnie and the Lee
15    Murphy Law Firm and to incur attorney's fees and costs thereby.
16           279.      Due to MOM's negligent conduct, the Calzadillas Plaintiffs have been required to
17    retain the services ofEglet Prince and Gallagher & Kennedy and to incur attorney's fees and costs
18    thereby.

19           280.      Due to MGM' s negligent conduct, Nicholas and Anthony Robone have been

20    required to retain the services ofPanish Shea and Boyle LLP and to incur attorney's fees and costs

21    thereby.

22                                      TENTH CLAIM FOR RELIEF

23                                   Gross Negligence: Punitive Damages
             281.      Plaintiffs reallege and incorporate by reference every allegation contained in this
24
      Complaint as though fully set forth herein.
25
             282.      Plaintiffs allege that all acts, conduct and omissions on the part of MGM taken
26
      singularly or in combination, constitute gross negligence and were the proximate cause of
27
      Plaintiffs' injuries and damages. MGM's acts and/or omissions, when viewed objectively from
28
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      MGM's standpoint at the time such acts and/or omissions occurred, involved an extreme degree

2     of risk, considering the probability and magnitude of the potential harm to others. MGM had

3     actual, subjective awareness of the risk, but proceeded with conscious indifference to the rights,

4     safety and welfare of Plaintiffs.

              283.    MGM's conduct was reckless and/or done with an intentional state of mind. MGM
 5
      acted with deliberate indifference by ignoring countless signs of suspicion, as a result of focusing
 6
      its security on preventing theft against MGM, that, if noticed, would have prevented, or
 7
      significantly thwarted, the Shooter's efforts. Such gross negligence was a proximate cause of the
 8
      occurrence and Plaintiffs' injuries and damages.
 9
              284.    That MGM acted recklessly, maliciously, and/or oppressively with intent to allow
IO
      injury to Plaintiffs.
II
              285.    That MGM acted with conscious disregard for the safety of Plaintiffs, and others so
12
      as to constitute malice and oppression, and Plaintiffs are entitled to exemplary or punitive damages
13
      in an amount in excess of Fifteen Thousand Dollars ($15 ,000.00).
14
              286.    As a direct and proximate result of all the foregoing and as a result of the willful
15    acts and/or willful omissions of MGM, Plaintiffs have sustained and will continue to sustain the
16    above-mentioned injuries and damages.
17            287.    As a direct and proximate result ofMGM's willful and wrongful conduct, Plaintiffs,
18    each of them, suffered severe injury to their body and mind, past and future medical expenses, past

19    and future pain and suffering, past and future severe emotional distress, disfigurement, loss of

20    enjoyment of life, loss of past and future earning capacity and anticipated future loss of income,

21    all to their damage in an amount in excess of Fifteen Thousand Dollars ($15,000.00).

22            288.    As a direct and proximate result of MGM's willful and wrongful conduct, and the

23    resulting death of Brian Fraser, Lotus Herrera as Special Administrator of the Estate of Brian

      Fraser, has incurred emergency, medical, funeral and burial expenses in an amount not yet
24
      ascertained, and when said amount is ascertained, Stephanie Fraser will seek leave of Court to
25
      amend this Complaint to allege said amount. Lotus Herrera as Special Administrator of the Estate
26
      of Brian Fraser is also entitled to general damages and exemplary or punitive damages that
27
      decedent Brian Fraser would have recovered had he survived.
28
                                                      -55-

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             289.      Due to MGM's willful and wrongful conduct as alleged herein, Rachel Sheppard

2     has been required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and

 3    to incur attorney's fees and costs thereby.

4            290.      Due to MGM' s willful and wrongful conduct, the Fraser Plaintiffs have been

 5    required to retain the services of Robinson Calcagnie and the Lee Murphy Law Firm and to incur

      attorney' s fees and costs thereby.
 6
             291.      Due to MGM' s willful and wrongful conduct as alleged herein, Lotus Herrera as
 7
      Special Administrator of the Estate of Brian Fraser, has been required to retain the services of
 8
      Robinson Calcagnie and the Lee Murphy Law Firm and to incur attorney' s fees and costs thereby.
 9
             292.      Due to MGM's willful and wrongful conduct as alleged herein, the Calzadillas
10
      Plaintiffs have been required to retain the services of Eglet Prince and Gallagher & Kennedy and
11
      to incur attorney's fees and costs thereby.
12
             293.      Due to MGM's willful and wrongful conduct, Nicholas and Anthony Robone have
13
      been required to retain the services ofPanish Shea and Boyle LLP and to incur attorney's fees and
14
      costs thereby.
15                                          PRAYER FOR RELIEF
16            WHEREFORE, Plaintiffs Rachel Sheppard, individually; Stephanie Fraser, individually,
17    Lotus Herrera as Special Administrator of the Estate of Brian Fraser, deceased; Stephanie Fraser,
18    as the Guardian Ad Litem for Aubree Fraser, a minor; Stephanie Fraser, as the Guardian Ad Litem

19    for Brayden Fraser; Jovanna Calzadillas, individually; Francisco Calzadillas, individually;

20    Nicholas Robone, individually; and Anthony Robone, individually, pray for relief in the form of a

21    Judgment in their favor, and against MGM for damages as follows:

22            1)       For compensatory damages to be shown at trial;

23            2)       For actual and/or special damages to be shown at trial;

              3)       For general damages to be shown at trial;
24
              4)       Loss of past and future earning capacity;
25
              5)       Loss of enjoyment of life;
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27

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                                                       -56-

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       6)    Pecuniary damages, including, but not limited to grief or sorrow, loss of probable
             support, companionship, society, comfort, pain and suffering and disfigurement of
             Brian Fraser;

       7)    For punitive and exemplary damages against Defendants in an amount to be
             determined at trial;
       8)    For costs of suit, reasonable attorney's fees, and interest;
       9)    For pre-judgment and post-judgment interest;




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